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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

   NATIONAL RIFLE ASSOCIATION OF                    §
   AMERICA,                                         §
                                                    §
           Plaintiff and Counter-Defendant          §
                                                    §
   and                                              §
                                                    §
   WAYNE LAPIERRE,                                  §
                                                    § Civil Action No. 3:19-cv-02074-G
           Third-Party Defendant,                   §
                                                    §
   v.                                               §
                                                    §
   ACKERMAN MCQUEEN, INC.,                          §
                                                    §
           Defendant and Counter-Plaintiff,         §
                                                    §
   MERCURY GROUP, INC., HENRY
                                                    §
   MARTIN, WILLIAM WINKLER,
                                                    §
   MELANIE MONTGOMERY, and JESSE
                                                    §
   GREENBERG,
                                                    §
                                                    §
           Defendants.
                                                    §


        APPENDIX IN SUPPORT OF DEFENDANTS’ REPLY IN SUPPORT OF THEIR
                  MOTION TO DISQUALIFY PLAINTIFF’S COUNSEL

          Defendants, Ackerman McQueen, Inc., Mercury Group, Inc., Henry Martin, William

 Winkler, Melanie Montgomery, and Jesse Greenberg, offer the following evidence in support of

 Defendants’ Reply in Support of their Motion to Disqualify Plaintiff’s Counsel (ECF 140):

   EX                                DESCRIPTION                                      APPX

  A        Declaration of Bill Winkler, dated June 3, 2020                         APP 001-
                                                                                   APP 010

  B        Declaration of Melanie Montgomery, dated June 3, 2020                   APP 011-
                                                                                   APP 020



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 MOTION TO DISQUALIFY PLAINTIFF’S COUNSEL                                                    PAGE 1
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  C       Declaration of Tony Makris, dated June 3, 2020                     APP 021-
                                                                             APP 030

  D       Declaration of Nader Tavangar, dated June 3, 2020                  APP 031-
                                                                             APP 037

  E       Declaration of Bill Powers, dated June 3, 2020                    APP 038-
                                                                            APP 043

  F       Declaration of Ed Martin, dated June 3, 2020                      APP 044-
                                                                            APP 046

  G       Declaration of Randy Johnston, dated June 3, 2020                 APP 047-
                                                                            APP 077

  H       Declaration of Dan Boren, dated June 3, 2020                      APP 078-
                                                                            APP 080

  I       Declaration of Revan McQueen, dated June 3, 2020                   APP 081-
                                                                             APP 104

  J       Declaration of Brian E. Mason, dated June 3, 2020                 APP 105-
                                                                            APP 106

  J-1     Letter from NRA to Ackerman, dated August 8, 2018                  APP 107

  J-2     Brewer Firm Leadership Page as of June 3, 2020                    APP 108-
                                                                            APP 119

  J-3     Email from Brian Mason, dated May 22, 2020                         APP 120-
                                                                             APP 122

  J-4     Email from Michael Collins, dated May 22, 2020                     APP 123-
                                                                             APP 125

  J-5     Email from William Brewer, dated May 18, 2020                     APP 126-
                                                                            APP 127




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 MOTION TO DISQUALIFY PLAINTIFF’S COUNSEL                                          PAGE 2
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 Dated: June 3, 2020                                 Respectfully submitted,

                                                     /s/ G. Michael Gruber
                                                     G. Michael Gruber, Esq.
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                                                     Jay J. Madrid, Esq.
                                                     Texas Bar No. 12802000
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                                                     ATTORNEYS FOR DEFENDANTS

                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was electronically
 served via the Court’s electronic case filing system upon all counsel of record on this 3rd day of
 June 2020:

                                              /s/ G. Michael Gruber
                                              G. Michael Gruber




 APPENDIX IN SUPPORT OF DEFENDANTS’ REPLY IN SUPPORT OF THEIR
 MOTION TO DISQUALIFY PLAINTIFF’S COUNSEL                                                   PAGE 3
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                                                                     APP001
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                                                                     APP002
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                                                                     APP003
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                                                                     APP004
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                                                                     APP005
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                                                                     APP006
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                                                                      APP007
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                                                                      APP008
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                                                                      APP009
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                                                                      APP010
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

   NATIONAL RIFLE ASSOCIATION OF        §
   AMERICA,                             §
                                        §
       Plaintiff and Counter-Defendant  §
                                        §
   and                                  §
                                        §
   WAYNE LAPIERRE,                      §
                                        § Civil Action No. 3:19-cv-02074-G
       Third-Party Defendant,           §
                                        §
   v.                                   §
                                        §
   ACKERMAN MCQUEEN, INC.,              §
                                        §
       Defendant and Counter-Plaintiff, §
                                        §
   MERCURY GROUP, INC., HENRY
                                        §
   MARTIN, WILLIAM WINKLER,
                                        §
   MELANIE MONTGOMERY, and JESSE
                                        §
   GREENBERG,
                                        §
                                        §
       Defendants.
                                        §
                   DECLARATION OF MELANIE MONTOGMERY

        Pursuant to 28 U.S.C. § 1746, I, Melanie Montgomery, hereby declare as follows:

        1.     My name is Melanie Montgomery. I am over the age of 18 years and of sound

 mind. I have never been convicted of a felony or a crime of moral turpitude. The facts stated

 herein are true and correct, and based on my personal knowledge. I am an Executive Vice

 President / Management Supervisor at Ackerman McQueen, Inc. (“AMc”).               I submit this

 declaration in response to the National Rifle Association of America’s (“NRA”) Opposition to

 Defendants’ Motion to Disqualify Plaintiffs’ Counsel (the “Opposition”).

        2.     I have reviewed the Declaration of Michael Erstling that was filed in support of the

 NRA’s Opposition. I find it odd that Mr. Erstling executed this declaration. For decades, I was




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 one of the top AMc executives that interacted with the NRA’s Executive Vice President, Wayne

 LaPierre, and the NRA’s former Treasurer, Woody Phillips, relating to invoicing and budgeting

 matters. I did not interact with Mr. Erstling regarding invoicing or budgeting matters, nor am I

 aware that he interacted with any other AMc employee in our accounting department. In fact, at

 no point during AMc’s almost four decade relationship with the NRA was Mr. Erstling ever

 appointed as a designee by Mr. LaPierre which would allow him to engage in a direct relationship

 with AMc.

        3.      In paragraph six of Mr. Erstling’s declaration, he states that “Ackerman regularly

 issued six-figure invoices to the NRA with little detail or support, and systematically obfuscated

 and blocked the NRA’s efforts to understand what services were covered by any particular

 invoice.” As Mr. Erstling knows, the NRA and AMc’s relationship spans nearly four decades.

 For at least the last fifteen years, Mr. LaPierre and Mr. Phillips instructed me and other AMc

 representatives to provide vague and innocuous invoices to the NRA. I was told by Mr. LaPierre

 that the reason for this was because he had concerns with confidentiality, and specifically concerns

 about leaks within the NRA’s accounting department. Over the years, both Mr. LaPierre and Mr.

 Phillips often reminded me and other AMc representatives to intentionally keep AMc’s invoices

 to the NRA vague. For example, AMc issued an invoice to the NRA for assisting Mr. LaPierre to

 write his speech for the annual Conservative Political Action Conference convention. The invoice

 submitted to the NRA stated, “Speechwriting W. LaPierre for CPAC…” When Mr. LaPierre

 became aware of the invoice, he explained to me and other AMc representatives that he did not

 want his name on AMc’s invoices. After that directive from Mr. LaPierre, those particular invoices

 would simply read, “Executive Speechwriting Services.”




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        4.      I had no personal knowledge that Mr. Erstling or other Board members were

 concerned with the amount of detail in AMc’s invoices until late 2018 after William Brewer III

 was retained by the NRA. If Mr. Erstling actually had concerns about the amount of detail in

 AMc’s invoices, he should have directed those concerns to Mr. LaPierre or Mr. Phillips who would

 have been in the best position to explain why the NRA required the invoices to contain so little

 information. He certainly never contacted me or AMc about it.

        5.      Mr. Erstling further states that AMc refused to cooperate with requests for

 information. This statement is false. Since the NRA and AMc’s relationship began, the NRA has

 conducted numerous audits of AMc’s documents under the parties’ Services Agreement. I do not

 recall a single instance where the NRA expressed concerns about the information AMc was

 providing to the NRA as part of these audits or where the NRA accused AMc of withholding

 anything until Mr. Brewer’s involvement with AMc. To the extent the NRA requested back up

 for invoices or further explanation for projects, AMc provided that information to the NRA,

 typically through Mr. LaPierre and/or Mr. Phillips. During many of these audits, Mr. LaPierre

 specifically instructed AMc not to disclose certain information to the auditors, including the NRA

 Foundation’s Chief Financial Officer, Rick Tedrick. As I stated above, Mr. LaPierre repeatedly

 told Angus and me that he did not trust the members of the NRA’s accounting department. Prior

 to Mr. Brewer’s engagement by the NRA in 2018, I do not recall a single complaint from anyone

 at the NRA that AMc failed to provide the requested information as part of the NRA’s audits of

 AMc’s documents.

        6.      In paragraph five of Mr. Erstling’s declaration, he states that the annual budget was

 made difficult because AMc deviated from the budget parameters set by the NRA and that he was

 provided no insight into the basis for the budgets or whether AMc would adhere to them. For at




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 least the last twenty years, Mr. LaPierre and Mr. Phillips have been responsible for creating and

 finalizing the annual budget between the NRA and AMc. Each year, Mr. LaPierre, with the

 assistance and knowledge of Mr. Phillips, approved the annual budget between the NRA and AMc.

 In fact, once the budget was approved, a copy would be provided to Mr. Tedrick (Mr. Erstling’s

 superior) so that he could track the budget with AMc’s invoices. The exception to this was for the

 2019 budget, which involved Craig Spray, Mr. Phillips’ successor. Despite Mr. Erstling’s

 statement, he did not participate in any annual budget process with AMc. I understood from

 comments made from Mr. LaPierre and Mr. Phillips that once the budget between Mr. LaPierre,

 Mr. Phillips, and AMc was approved, it would go before the NRA’s Finance Committee for

 approval Once again, I believe Mr. Erstling’s apparent lack of knowledge regarding the budget

 was not a result of AMc’s failure to provide the NRA with information, but a failure of Mr.

 LaPierre to provide information he had in his possession to his staff and Board.

        7.      To the extent that there were changes throughout the year relating to the budget,

 and specifically increases to the budget as Mr. Erstling complains, most of these changes were

 specifically requested by Mr. LaPierre, and all of these changes were approved by Mr. LaPierre

 and/or Mr. Phillips. For example, in 2015, Mr. LaPierre asked AMc to create a campaign that

 would be impactful throughout the upcoming election period. The resulting product was the

 widely successful Freedom Safest Place (“FSP”) program. Although FSP formally launched in

 2016, there were budget increases for the 2015 calendar year as a result of Mr. LaPierre’s request.

 There were also budget increases for FSP in 2016 and 2017. Another example occurred in 2016

 with Carry Guard. Carry Guard was essentially composed of two components: the insurance

 component and the training component. In 2016, Mr. LaPierre and Mr. Powell, who was

 responsible for creating and managing Carry Guard, approached AMc to help the NRA with the




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 branding of Carry Guard and the training component. AMc agreed, which resulted in increases to

 the 2016 budget. Once again, these requests were requested and approved by Mr. LaPierre. If

 Mr. LaPierre failed to provide Mr. Erstling and other NRA executives with this information, it is

 an NRA problem.

        8.      In paragraph six of Mr. Erstling’s declaration, he claims that AMc regularly

 employed outside contractors for staffing projects which could have been adequately served by

 NRA staff. Mr. Erstling does not provide an example of any such project, which is likely because

 he had no interaction with me or other AMc representatives, to my knowledge, about AMc’s

 projects for the NRA. Mr. Phillips (Mr. Erstling’s superior) is also clearly unaware that Mr.

 LaPierre repeatedly told me that he did not want the NRA to do any AMc tasks in-house because

 they would “kill it.”

        9.      In paragraph seven of Mr. Erstling’s declaration, he claims that AMc was billing

 for work that had not been undertaken and specifically references an invoice relating to a Carry

 Guard magazine issue. Mr. Erstling’s statement is absolutely false. AMc did not invoice or bill

 the NRA for work that it did not complete. With regard to the Carry Guard magazine, Lacey Duffy

 Cremer from AMc sent an email to Craig Spray and Josh Powell on July 13, 2018 detailing the

 work completed that Mr. Erstling now alleges was not completed. This work was completed, and

 I am not aware of a single instance where AMc charged the NRA for work that was not completed.

        10.     I have reviewed the Declaration of Grant Stinchfield that was filed in support of the

 NRA’s Opposition. At the end of Mr. Stinchfield’s declaration, he claims that he “never had a

 sense that AMc” wanted to work with the NRA or cooperate with them on important issues like

 budgeting or messaging. I personally attended every budgeting meeting with Mr. LaPierre and

 Mr. Phillips for at least the last fifteen (15) years, and Mr. Stinchfield was never present at any of




                                                                                            APP015
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 those meetings. As far as messaging, Mr. Stinchfield was given a certain degree of autonomy

 since he was indirectly involved in implementing the NRA’s messaging through the NRATV show

 he hosted entitled, “Stinchfield.” But AMc had to closely monitor his broadcasts after he discussed

 issues on air that were both racist and sexist, and he was criticized for such from viewers and the

 media. I am not aware of any complaint by Mr. Stinchfield to me or anyone else at AMc about

 AMc not wanting to work with the NRA on its messaging. To the contrary, for nearly forty years,

 AMc helped the NRA become one of the most powerful civil rights groups in the United States

 with unwavering support for the Second Amendment. NRA has acknowledged this repeatedly in

 numerous pleadings in this case.

        11.     I have reviewed the Declaration of Wayne LaPierre that was filed in support of the

 NRA’s Opposition. In paragraph seven of Mr. LaPierre’s declaration, he claims that he became

 concerned with the messaging of NRATV. Although Mr. LaPierre fails to identify any specific

 issues or time period, I do not have, and I am not aware of any other AMc executive or employee

 having any knowledge about any complaints from Mr. LaPierre. In fact, at a meeting on November

 28, 2017 at the Mercury Group offices that I attended with Mr. LaPierre, he complained to me that

 NRA fundraising was in a “Trump Slump” and we needed to work on more “gasoline” through

 NRATV to energize members and prospects.

        12.     I have also reviewed paragraph thirteen of Mr. LaPierre’s declaration and the

 declaration of Craig Spray where they make certain false accusations relating to a meeting on

 October 11, 2018 in Dallas, Texas. I attended the entirety of this meeting with Mr. LaPierre, Mr.

 Spray, Angus McQueen, Revan McQueen, Lacey Duffy Cremer, Bill Winkler, Brandon Winkler,

 Tony Makris, and Henry Martin. The meeting got off to a rocky start because Mr. LaPierre and

 Mr. Spray were an hour late and did not alert AMc they were running behind and, further, Mr.




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 LaPierre announced that Mr. Brewer and Mr. Powell had flown in with him on a privately chartered

 jet. At the beginning of the meeting, AMc, with Angus taking the lead, had a conversation with

 Mr. LaPierre about AMc’s future with the NRA in light of Mr. Brewer’s and Mr. Powell’s actions.

 Specifically, Angus talked to Mr. LaPierre about the abusive and harassing phone calls he had

 received from Mr. Brewer and the letter writing campaign from Mr. Brewer falsely accusing AMc

 of withholding documents. Angus told Mr. LaPierre that if he thought the claims by Mr. Brewer

 were true, then AMc and the NRA’s relationship going forward should cease because they would

 not be able to trust each other. Mr. LaPierre quickly responded that that was not going to happen.

        13.     Angus further expressed concerns with Mr. LaPierre about Mr. Powell’s

 involvement with AMc, especially in light of the recent sexual harassment allegations with an

 AMc executive and Mr. LaPierre’s decision to designate him as a “designee” under the Services

 Agreement—essentially appointing Mr. Powell as Mr. LaPierre’s designated representative to

 work with AMc on a day-to-day basis. Angus made clear that AMc was not going to deal with

 Mr. Brewer and Mr. Powell moving forward because they were both abusive and appeared to have

 no interest in being part of AMc’s work for the NRA going forward. In addition to Angus, other

 AMc representatives, including me, expressed similar concerns to Mr. LaPierre about Mr. Brewer

 and Mr. Powell. I also recall Revan telling Mr. LaPierre that AMc was prepared to resign the NRA

 account on the spot because it was not going to work in what had become an incredibly hostile and

 abusive relationship with Mr. Brewer and Mr. Powell.

        14.     In response to AMc’s concerns, Mr. LaPierre repeatedly pled with AMc to “stick

 with him.” Mr. LaPierre said the letter writing campaign with Mr. Brewer and the Brewer Firm

 would stop, and that AMc would no longer have to deal with Mr. Brewer, the Brewer Firm, or Mr.

 Powell going forward. Mr. LaPierre explained that Mr. Brewer was going to be gone in 30-60




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 days anyway because he was going to have everything resolved with the New York Attorney

 General. During the meeting, Mr. LaPierre repeatedly said that Mr. Brewer was the only person

 that could save the NRA from the New York Attorney General, that Mr. Brewer had some key

 relationships in the State of New York, and that Mr. Brewer “knew how to fix this.” When I asked

 Mr. LaPierre what he meant by Mr. Brewer’s knowing “how to fix this,” Mr. LaPierre responded

 that “he just is,” and reaffirmed that Mr. Brewer was going to leave AMc alone.

        15.    The conversations relating to Mr. Brewer and Mr. Powell during the October 11,

 2018 meeting were emotional and sometimes heated. But at the end of the discussion, Mr. LaPierre

 looked around to each of the AMc representatives and asked them whether they would stick with

 him if he did in fact make sure that Mr. Brewer, the Brewer Firm, and Mr. Powell were no longer

 involved with AMc. Based on Mr. LaPierre’s representations, AMc agreed. However, Mr.

 LaPierre’s representations proved to be false. As one example, AMc received a letter from the

 Brewer Firm on December 21, 2018, once again requesting documents that the Brewer Firm knew

 AMc did not have in its possession.

        16.    Mr. LaPierre’s and Mr. Spray’s statements that Angus and Revan were hostile,

 angry, or unprofessional during the October 11, 2018 meeting are completely false. The only time

 the meeting became emotional was during our conversations with Mr. LaPierre about Mr. Brewer

 and Mr. Powell. Angus, Revan, nor anyone else from AMc in that meeting was “enraged” by the

 NRA’s budget cuts. I personally participated in and witnessed Mr. LaPierre, Mr. Spray, Angus,

 Revan, Bill, and other AMc representatives work through these budgets in a cordial and

 professional matter. Over the years, AMc had a history of working cordially with Mr. LaPierre

 regarding budget cuts when NRA experienced financial downturns, and this meeting was no

 exception, In fact, after the October 2018 meeting had concluded and AMc had been able to




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 finalize the budget with Mr. LaPierre and Mr. Spray, Mr. Spray personally sent me a message to

 express his appreciation to AMc for working on the budget reduction. Mr. Spray said “I want to

 thank you and the team again. We still have a journey internally to drive accountability amongst

 our executive team but we would never be this far without all your help. Pls extend my thanks.”

        17.     Mr. LaPierre’s concerning comments about Mr. Brewer and the New York

 Attorney General were not limited to the October 11, 2018 meeting. During another meeting on

 January 18, 2019 attended by Mr. LaPierre, Angus, Revan, Tony, Lacey, Henry and Nader, Mr.

 LaPierre stated numerous times that Mr. Brewer was the only person that was going to keep him

 out of jail. In response, Angus, Tony, and I asked Mr. LaPierre why he should be concerned about

 going to jail. Mr. LaPierre stated on three separate occasions to me and everyone in the room that,

 “you don’t know what you don’t know.” During that same meeting, I also became increasingly

 concerned about Mr. Brewer’s role in handling the NRA’s public relations and media strategies.

 At one point during the same meeting, Mr. LaPierre said that he was going to send Mr. Brewer to

 the New York Times to talk about Congress’ investigation into the NRA’s trip to Russia. Many

 of us expressed concerns about the NRA approaching a well-known liberal media outlet to talk

 about the Russia investigation. In response, Mr. LaPierre said that Mr. Brewer would sue the New

 York Times if they did not write what they wanted him to say.

        18.     I have also read paragraphs 17 – 21 of Mr. LaPierre’s declaration suggesting that

 AMc was working with or directing Lt. Col. Oliver North to engage in a failed extortion attempt

 on April 24, 2019. These allegations are completely ridiculous. As Col. North, Millie Hallow,

 and Carolyn Meadows have all testified, AMc was not engaging, directing, or otherwise involved

 in any extortion, coup, or threat to have Mr. LaPierre step down. I am not aware of a single AMc

 executive, employee, or representative that instructed, directed, recruited, or otherwise asked and




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 even discussed with Col. North to convey any kind of message, directive, or threat to Mr. LaPierre

 about resigning or stepping down, much less the notion that AMc would take some sort of

 affirmative action if Mr. LaPierre did not resign or step down.

        19.     I have further read the NRA’s allegations that Col. North was working on behalf of

 or at the direction of AMc when he was attempting to have Mr. Brewer’s attorneys’ engagement

 and invoices independently audited. I am not aware of a single AMc employee that was working,

 overseeing, directing, or otherwise involved in Col. North’s attempts to have Mr. Brewer’s

 attorneys’ invoices independently audited.

        20.     I have further read the NRA’s allegations that Mr. LaPierre did not have knowledge

 that Col. North was an employee of AMc. I was part of numerous meetings that Mr. LaPierre

 personally attended, and have actual knowledge that he knew that Col. North was an employee of

 AMc. Prior to AMc and Col. North executing the contract, Mr. Phillips read the contract in its

 entirety in my presence and then proceeded to call Mr. LaPierre stating he had done so and related

 the highlights. Mr. Phillips then authorized me to have the contract executed. I also had numerous

 conversations with the NRA’s General Counsel to the Board, Steve Hart, about Col. North’s

 contract with AMc. It was never a secret that Col. North was an employee of AMc. In fact, I

 know that Mr. Hart and the NRA’s General Counsel, John Frazer, personally reviewed Col.

 North’s contract that clearly states he was going to be an employee of AMc.

        I declare under penalty of perjury and in accordance with 28 U.S.C. § 1746 that the

 foregoing is true and correct.

        Executed this 3rd day of June, 2020.



                                               Melanie Montgomery




                                                                                        APP020
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

   NATIONAL RIFLE ASSOCIATION OF                      §
   AMERICA,                                           §
                                                      §
              Plaintiff and Counter-Defendant         §
                                                      §
   and                                                §
                                                      §
   WAYNE LAPIERRE,                                    §
                                                      § Civil Action No. 3:19-cv-02074-G
              Third-Party Defendant,                  §
                                                      §
   v.                                                 §
                                                      §
   ACKERMAN MCQUEEN, INC.,                            §
                                                      §
              Defendant and Counter-Plaintiff,        §
                                                      §
   MERCURY GROUP, INC., HENRY
                                                      §
   MARTIN, WILLIAM WINKLER,
                                                      §
   MELANIE MONTGOMERY, and JESSE
                                                      §
   GREENBERG,
                                                      §
                                                      §
              Defendants.
                                                      §

                            DECLARATION OF ANTHONY S. MAKRIS

         Pursuant to 28 U.S.C. § 1746, I, Anthony S. Makris, hereby declare as follows:

         1.       My name is Anthony S. Makris. I am over the age of 18 years and of sound mind.

 I have never been convicted of a felony or a crime of moral turpitude. The facts stated herein are

 true and correct, and based on my personal knowledge. I am the President of the Mercury Group,

 Inc., a subsidiary of Ackerman McQueen, Inc. (“AMc”). I submit this declaration in response to

 the National Rifle Association of America’s (“NRA”) Opposition to Defendants’ Motion to

 Disqualify Plaintiffs’ Counsel (the “Opposition”).




 DECLARATION OF ANTHONY S. MAKRIS                                                          PAGE 1
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        2.      I have reviewed the Declaration of Wayne LaPierre that was filed in support of the

 NRA’s Opposition. As an initial matter, I have known Mr. LaPierre for at least 40 years, and have

 worked very closely with him over the years. In paragraph five of his declaration, Mr. LaPierre

 makes numerous complaints about the work that AMc did for the NRA. I find Mr. LaPierre’s

 statements to be false and misleading for a number of reasons. Mr. LaPierre’s work philosophy

 was always “management by chaos.” He explained that the ‘chaos concept’ was to keep factions

 inside the organization fighting each other and that was an effective way for him to keep control.

 There were numerous occasions where Mr. LaPierre would repeatedly tell me and other AMc

 representatives not to work with particular NRA staff, or whole departments of the NRA staff. For

 example, during budget discussions, Mr. LaPierre made clear that AMc was only permitted to deal

 with Mr. LaPierre and Woody Phillips (and subsequently Craig Spray in 2019). Mr. LaPierre told

 me that AMc should not provide Josh Powell with the analytics for NRATV. Mr. LaPierre

 instructed AMc not to produce certain information to the NRA’s counsel, William Brewer III. One

 such example was when Mr. Brewer and members of his law firm attempted to remove AMc’s

 documents as part of their audit, Mr. LaPierre instructed AMc not to allow Mr. Brewer or members

 of his team to remove AMc’s documents or have them copied, which was expressly prohibited

 under the parties’ Services Agreement. When Mr. LaPierre would instruct AMc to incur expenses,

 he would repeatedly instruct us that we could only talk about such matters with him or Mr. Phillips.

 I was told by Mr. LaPierre and Mr. Phillips that this was because of Mr. LaPierre’s security needs

 and confidentiality from his own NRA staff.

        3.      In paragraph eight of Mr. LaPierre’s declaration, he references the Carry Guard

 program and expresses concerns about AMc’s handling of the program. The Carry Guard program

 was comprised of two separate components, a training component and an insurance component.




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 AMc is a strategy, communications, and advertising agency, among other things. AMc was not

 an insurance agency, and is not an insurance agency. Mr. Powell, Mr. LaPierre, and others at the

 NRA were responsible for the insurance program of Carry Guard. Mr. LaPierre asked, and AMc

 agreed, to assist the NRA with the marketing and branding of Carry Guard, and the training

 program. I found it odd that the most powerful gun group in the United States needed AMc to

 help construct a gun training program. The insurance company component of Carry Guard and its

 resulting regulatory problems were done by the NRA and its other vendors. I do not recall any

 issues with the marketing, branding, or training problem that AMc did for Carry Guard. In fact,

 Mr. Powell, who was responsible for Carry Guard, took the Carry Guard training that AMc had

 helped structure with veteran Special Warfare and Law Enforcement trainers and described it as

 being “fantastic.”

        4.       Mr. LaPierre’s recollection of the retention of Mr. Brewer is false. When the NRA

 was assessing counsel to retain for the Lockton Litigation, Mr. Brewer and Mr. Chuck Cooper

 were the finalists. I have known Mr. Cooper for years, and know him to be an ethical, hard-

 working, and effective counselor and advocate.        I have personal knowledge that Angus

 recommended that the NRA retain Mr. Cooper. I recommended to Mr. LaPierre and numerous

 other high-ranking NRA executives that the NRA should hire Mr. Cooper, especially in light of

 his extensive practice in constitutional law. I also have personal knowledge that Chris Cox and

 Jim Porter also recommended Mr. Cooper. I also have personal knowledge that Angus repeatedly

 expressed concerns within AMc and to Mr. LaPierre about the NRA’s retention of Mr. Brewer,

 including his familial relationship.

        5.      I have reviewed paragraph thirteen of Mr. LaPierre’s declaration and the

 declaration of Craig Spray where they make certain false accusations relating to a meeting on




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 October 11, 2018 in Dallas, Texas. I personally attended the entirety of this meeting with Mr.

 LaPierre, Mr. Spray, Angus McQueen, Revan McQueen, Melanie Montgomery, Lacey Duffy

 Cremer, Brandon Winkler, Bill Winkler, and Henry Martin. At the beginning of the meeting (after

 Mr. LaPierre and Mr. Spray showed up one hour late with no notice), AMc, with Angus taking the

 lead, had a conversation with Mr. LaPierre about AMc’s future with the NRA in light of

 developments with Mr. Brewer and Mr. Powell. Specifically, Angus talked to Mr. LaPierre about

 the abusive and harassing phone calls that he had received from Mr. Brewer and the letter writing

 campaign from Mr. Brewer falsely accusing AMc of withholding documents.                 Angus had

 previously told me that Mr. Brewer had called him in June 2018, and threatened that Angus and

 AMc was going to be brought up on RICO charges, and that the FBI was going to raid AMc’s

 offices. Shortly after first hearing this from Angus, Mr. Powell told me the exact same thing – that

 Mr. Brewer called Angus in June 2018 and told him that he was going to be brought up on RICO

 charges, and that the FBI was going to raid AMc’s offices. Angus made it clear to Mr. LaPierre

 at the beginning of the meeting that if he thought the claims by Mr. Brewer were true, then AMc

 and the NRA’s relationship going forward should stop because they would not be able to trust each

 other. Mr. LaPierre quickly responded that that was not going to happen.

        6.      Angus further expressed concerns with Mr. LaPierre about Mr. Powell’s

 involvement with AMc, especially in light of the recent sexual harassment allegations with an

 AMc executive and Mr. LaPierre’s recent decision to designate Mr. Powell as a “designee” under

 the Services Agreement, essentially appointing Mr. Powell as Mr. LaPierre’s designated

 representative to work with AMc. In short, I understood that Angus was making clear that AMc

 would not work with either Mr. Brewer or Mr. Powell, who were both abusive and appeared to

 have no interest in being part of the AMc’s work for the NRA going forward. I also recall Revan




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 telling Mr. LaPierre that AMc was prepared to resign the NRA account on the spot because it was

 not going to work in what had become an incredibly hostile and abusive relationship with Mr.

 Brewer and Mr. Powell.

        7.     In response to AMc’s concerns, Mr. LaPierre repeatedly pled with AMc to “stick

 with him.” Mr. LaPierre stated that the letter writing campaign with Mr. Brewer and the Brewer

 Firm would stop, and that AMc would no longer have to deal with Mr. Brewer, the Brewer Firm,

 and Mr. Powell going forward. Mr. LaPierre stated that Mr. Brewer was going to be gone in 30-

 60 days because Mr. Brewer was going to have everything resolved with the New York Attorney

 General. During the meeting, Mr. LaPierre repeatedly stated that Mr. Brewer was the only person

 that could save the NRA from the New York Attorney General, that Mr. Brewer had some key

 relationships in the State of New York, and that Mr. Brewer knew “how to fix this.” When AMc

 representatives asked Mr. LaPierre what he meant by Mr. Brewer’s knowing “how to fix this,” Mr.

 LaPierre responded that “he just does.”

        8.     The conversations relating to Mr. Brewer and Mr. Powell were emotional and

 sometimes heated. When Mr. LaPierre suggested that I could come work with the NRA, I

 remarked, “I wouldn’t be associated with those two unethical people [Brewer and Powell] if my

 life depended on it.” At the end of the discussion, Mr. LaPierre looked around to each of the AMc

 representatives in the meeting and specifically asked whether they would stick with him if he did

 in fact make sure that Mr. Brewer, the Brewer Firm, and Mr. Powell were no longer involved with

 AMc. Based on Mr. LaPierre’s assurances that AMc would be able to continue productive business

 without the hostilities of Brewer and Powell, AMc agreed to continue its work for the NRA.

 However, Mr. LaPierre’s representations proved to be false. As one example, AMc received a




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 letter from the Brewer Firm on December 21, 2018 once again requesting documents that the

 Brewer Firm had full knowledge that AMc did not have in its possession.

        9.     Mr. LaPierre’s and Mr. Spray’s statements that Angus and Revan were hostile,

 angry, or unprofessional during the October 11, 2018 meeting are completely false. The only time

 during the October 11, 2018 meeting that became emotional was during our conversations with

 Mr. LaPierre about Mr. Brewer and Mr. Powell. Angus, Revan, nor anyone else from AMc in that

 meeting was “enraged” by the NRA’s budget cuts. I personally witnessed Mr. LaPierre, Mr. Spray,

 Angus, Revan, Bill, and other AMc representatives work through these budgets in a cordial and

 professional matter. I also recall Mr. Spray and Mr. LaPierre repeatedly telling me and other AMc

 representatives that part of the reason for the budget cuts was because of the legal bills of Mr.

 Brewer. On numerous occasions, Mr. LaPierre personally complained to me about the significant

 legal expenses of Mr. Brewer and his law firm.

        10.    Mr. LaPierre made other concerning comments about Mr. Brewer and the New

 York Attorney General. During another meeting in January 2019 attended by Mr. LaPierre,

 Angus, Revan, Melanie, and Nader, Mr. LaPierre stated on numerous occasions that Mr. Brewer

 was the only person that was going to keep him out of jail. In response to that, Angus, Melanie,

 and I asked Mr. LaPierre why he should be concerned about going to jail. Mr. LaPierre stated on

 three separate occasions to me and everyone in the room that, “you don’t know what you don’t

 know.” I found Mr. LaPierre’s comments about Mr. Brewer to be odd and disconcerting.

        11.    During that same meeting, I also became increasingly concerning about Mr.

 Brewer’s role in handling the NRA’s public relations and media strategies that AMc had always

 handled for the NRA. At one point, Mr. LaPierre said that he was going to send Mr. Brewer to the

 New York Times to talk about Congress’ investigation into the NRA’s trip to Russia. Numerous




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 AMc executives expressed concerns about the NRA approaching a well-known liberal media

 outlet to talk about the Russia investigation. In response, Mr. LaPierre said that Mr. Brewer would

 sue the New York Times if they did not write what they wanted him to say. Finally, during this

 same meeting, AMc once again confronted Mr. LaPierre on why they were still dealing with Mr.

 Brewer and his firm, especially in light of the new document request that Sarah Rogers from the

 Brewer Firm sent on December 21, 2018.

        12.     I have also read paragraphs 17 – 21 of Mr. LaPierre’s declaration suggesting that

 AMc was working with or directing Lt. Col. Oliver North to engage in a failed extortion attempt

 on April 24, 2019. These allegations are false and completely ridiculous. As Col. North, Millie

 Hallow, and Carolyn Meadows have all testified, AMc was not engaging, directing, or otherwise

 involved in any extortion, coup, or threat to have Mr. LaPierre step down. I am not aware of a

 single AMc executive, employee, or representative that instructed, directed, recruited, or otherwise

 asked and even discussed with Dan Boren or Col. North to convey any kind of message, directive,

 or threat to Mr. LaPierre about resigning or stepping down, much less the notion that AMc would

 take some sort of affirmative action if Mr. LaPierre did not resign or step down.

        13.     The NRA also contends that Col. North was working on behalf of or at the direction

 of AMc when he was attempting to have Mr. Brewer’s attorneys’ engagement and invoices

 independently audited. This is simply false. I was told that the sole basis for the Board of Directors

 to independently audit Mr. Brewer’s engagement was driven by the Board’s attempt to apply Mr.

 Brewer’s new financial mandates to the Brewer Firm itself. I heard numerous concerns about Mr.

 Brewer’s billings with no back up and about his employment with the NRA without a valid

 contract. The sole basis for the allegations that AMc was behind these actions appears to be simply

 because Col. North was an employee of AMc. Col North’s employment by AMc was an




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 arrangement fully vetted and approved by Mr. LaPierre, the NRA, and the NRA Board of Directors

 on numerous occasions. For Mr. LaPierre to claim he had no knowledge of Col. North’s

 employment by AMc is false, as LaPierre personally initiated and oversaw the details and terms

 of the employee agreement with Col. North.

        14.     I have also reviewed the Declaration of Michael Erstling that was filed in support

 of the NRA’s Opposition. In paragraph six of Mr. Erstling’s declaration, he states that “Ackerman

 regularly issued six-figure invoices to the NRA with little detail or support, and systematically

 obfuscated and blocked the NRA’s efforts to understand what services were covered by any

 particular invoice.” Prior to the submission of Mr. Erstling’s April 29, 2020 declaration, I had no

 personal knowledge that he or other NRA representatives or Board members had concerns with

 the level of detail in AMc’s invoices. As Mr. Erstling knows, the NRA and AMc’s relationship

 spans nearly four decades. For at least the last fifteen years, Mr. LaPierre and Mr. Phillips have

 instructed myself and numerous other representatives of AMc as to the specific wording on

 invoices. I was told by Mr. LaPierre that the reason for this was because he had concerns with

 confidentiality, and specifically concerns about leaks within the NRA’s accounting department.

 Over the years, both Mr. LaPierre and Mr. Phillips would remind me and other AMc

 representatives to intentionally keep AMc’s invoices to the NRA brief. If Mr. Erstling truly had

 concerns about the amount of information provided by AMc in the invoices to the NRA, he should

 have directed those concerns to Mr. LaPierre or Mr. Phillips who would have been in the best

 position to explain why the NRA required the invoices to contain so little information. He certainly

 never contacted me about it. Mr. Erstling’s concerns were not a communication breakdown

 between the NRA and AMc.




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        15.    Mr. Erstling further states that AMc refused to cooperate with requests for

 information. This statement is false. Each year since the NRA and AMc’s relationship began, the

 NRA has conducted at least one annual audit of AMc’s documents under the parties’ Services

 Agreement. I do not recall a single instance where the NRA expressed concerns about the

 information AMc was providing to the NRA as part of these audits or where the NRA accused

 AMc of withholding anything. To the extent the NRA requested back up for invoices or further

 explanation for projects, AMc provided that information to the NRA, typically through Mr.

 LaPierre and/or Mr. Phillips. During at least one of these audits, Mr. LaPierre specifically

 instructed AMc not to disclose certain information to the auditors, including the NRA

 Foundation’s Chief Financial Officer, Rick Tedrick. As I stated above, Mr. LaPierre repeatedly

 told Angus and I that he did not trust the members of the NRA’s accounting department. Prior to

 Mr. Brewer’s engagement by the NRA in 2018, I do not recall a single complaint from anyone at

 the NRA that AMc failed to provide the requested information as part of the NRA’s audits of

 AMc’s documents.

        16.    In paragraph five of Mr. Erstling’s declaration, he states that the annual budget was

 made difficult because AMc deviated from the budget parameters set by the NRA and that he was

 provided no insight into the basis for the budgets or whether AMc would adhere to them. For at

 least the last twenty years, Mr. LaPierre and Mr. Phillips have been responsible for helping to

 create and finalize the annual budget between the NRA and AMc. Each year, Mr. LaPierre, with

 the assistance and knowledge of Mr. Phillips, approved the annual budget between the NRA and

 AMc. The exception to this was for the 2019 budget, which involved Craig Spray, Mr. Phillips’

 successor. Despite Mr. Erstling’s testimony, he did not participate in any annual budget process

 with AMc. I understood from comments made from Mr. LaPierre and Mr. Phillips that once the




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 budget between Mr. LaPierre, Mr. Phillips, and AMc was approved, it would go before the NRA’s

 Finance Committee for approval. Once again, I believe that Mr. Erstling’s apparent lack of

 knowledge regarding the budget was not a result of AMc’s failure to provide the NRA with

 information, but a failure of Mr. LaPierre to apparently provide that information he had in his

 possession to the NRA.

        17.     To the extent that there were changes throughout the year relating to the budget,

 and specifically increases to the budget as Mr. Erstling complains, most of these changes were

 specifically requested by Mr. LaPierre, and it is my understanding that all of these changes were

 approved by Mr. LaPierre and/or Mr. Phillips. For example, in 2015, Mr. LaPierre approved AMc

 creating a campaign to run during the upcoming election on important political issues. The

 resulting product was the widely successful Freedom’s Safest Place (“FSP”) program. Although

 FSP formally launched in 2016, there were significant budget increases for the 2015, 2016, and

 2017 calendar years (the timeframe in which it ran) as a result of Mr. LaPierre’s request. Another

 example occurred in 2016 with Carry Guard. These requests were directed, orchestrated, and

 approved by Mr. LaPierre.        Mr. LaPierre’s failure to provide Mr. Erstling and other NRA

 executives with this information has apparently created the false impression that AMc was

 unilaterally increasing the budget every year. This insinuation is simply false.

        I declare under penalty of perjury and in accordance with 28 U.S.C. § 1746 that the

 foregoing is true and correct.



        Executed this 3rd day of June, 2020.



                                               ____________________________________
                                               Anthony S. Makris



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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

   NATIONAL RIFLE ASSOCIATION OF                      §
   AMERICA,                                           §
                                                      §
              Plaintiff and Counter-Defendant         §
                                                      §
   and                                                §
                                                      §
   WAYNE LAPIERRE,                                    §
                                                      § Civil Action No. 3:19-cv-02074-G
              Third-Party Defendant,                  §
                                                      §
   v.                                                 §
                                                      §
   ACKERMAN MCQUEEN, INC.,                            §
                                                      §
              Defendant and Counter-Plaintiff,        §
                                                      §
   MERCURY GROUP, INC., HENRY
                                                      §
   MARTIN, WILLIAM WINKLER,
                                                      §
   MELANIE MONTGOMERY, and JESSE
                                                      §
   GREENBERG,
                                                      §
                                                      §
              Defendants.
                                                      §

                             DECLARATION OF NADER TAVANGAR

         Pursuant to 28 U.S.C. § 1746, I, Nader Tavangar, hereby declare as follows:

         1.       My name is Nader Tavangar. I am over the age of 18 years and of sound mind. I

 have never been convicted of a felony or a crime of moral turpitude. The facts stated herein are

 true and correct, and based on my personal knowledge. I submit this declaration in response to

 the National Rifle Association of America’s (“NRA”) Opposition to Defendants’ Motion to

 Disqualify Plaintiffs’ Counsel (the “Opposition”).




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        2.     I am an Executive Vice President / Managing Director of Mercury Group, Inc., a

 wholly owned subsidiary of Ackerman McQueen, Inc. (“AMc”). I have been employed by AMc

 since 1999.

        3.     In 2009, I began to work on the NRA account at AMc. Since that time, I have

 worked closely with many of the NRA’s officers and directors. I was the main relationship point

 of contact between AMc and the NRA, including with Wayne LaPierre.

        4.     I have reviewed the Declaration of Wayne LaPierre that was filed in support of the

 NRA’s Opposition. In paragraph seven of Mr. LaPierre’s declaration, he states that he became

 concerned that the public messaging AMc was crafting for the NRA “struck the wrong tone.” I

 find Mr. LaPierre’s statement to be odd given the intimate knowledge, involvement, oversight, and

 approval that Mr. LaPierre had over all of AMc’s messaging for the NRA. I have personal

 knowledge that Mr. LaPierre frequently reviewed recorded content prior to release. Mr. LaPierre

 also repeatedly told me and other AMc representatives that he needed more “gasoline” on the

 messaging because he understood that it helped with fundraising. Mr. LaPierre explained to me

 that he needed this even more as he drifted further away from the duties demanded of him as being

 the face of the NRA. For example, in 2017, Tyler Schropp commented to me during an NRA

 board meeting in Springfield, Missouri that he found it concerning and weird that Mr. LaPierre

 had “taken off” the entire summer at the beach only to “check-in” (for a meeting/update/talking

 points) a day before the board meeting. The team of NRATV’s on air personalities allowed Mr.

 LaPierre to avoid the public and only emerge on occasion while those talents simultaneously

 spread the NRA’s messaging and increased fundraising.

        5.     In paragraph eight of Mr. LaPierre’s declaration, he states that he had concerns

 about AMc and specifically its involvement with Carry Guard. Carry Guard was Josh Powell’s




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 idea and responsibility. One of my roles with assisting the NRA was to help with special projects.

 I could not submit an invoice for the NRA’s approval and payment without allocating an NRA

 department to approve. AMc took direction from Mr. Powell on Carry Guard, including his

 routinely-ordered “rush” projects, which were still always approved beforehand. In certain

 instances, Mr. Powell would specifically authorize AMc to work on tasks for Carry Guard and

 then would speak differently to members of the NRA’s accounting team about the tasks. However,

 even then, these invoices were always approved and paid for by the NRA or the work was not

 completed.

        6.      I have reviewed the other statements made by Mr. LaPierre regarding Mr. Brewer’s

 involvement with him and the NRA. During a phone call with Mr. LaPierre in December 2018,

 he repeatedly told me to “stick with him.” He also told me during that same phone call that Mr.

 Brewer was going to be gone in 30-60 days because he was going to have everything resolved with

 the New York Attorney General. During a meeting with Mr. LaPierre and numerous AMc

 representatives in January 2019, Mr. LaPierre repeatedly said that Mr. Brewer was the only person

 that could save the NRA from the New York Attorney General. He told me the same thing on

 another occasion at the Mercury Group office. During the same January 2019 meeting (and on

 other occasions), Mr. LaPierre repeatedly said that Mr. Brewer was the only person that was going

 to be able to keep him out of jail. Numerous AMc representatives asked Mr. LaPierre what he

 meant and why he was concerned about going to jail. Mr. LaPierre told me and other AMc

 representatives in the meeting that we didn’t know what we didn’t know.

        7.      I have reviewed the Declaration of Travis Carter that was filed in support of the

 NRA’s Opposition. In paragraphs ten and eleven, Mr. Carter talks about Brewer, Attorneys &

 Counselors (the “Brewer Firm”), and specifically the public relations work that it does for various




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 clients, including the NRA. Mr. Carter suggests that AMc’s roles with the NRA were limited to

 advertising, web development, and marketing. However, just as Mr. Carter testified in his

 declaration about the Brewer Firm, AMc and its subsidiary, Mercury Group, Inc., for nearly forty

 years, helped the NRA “navigate media issues, regulatory challenges, and reputational exposure,”

 including as it related to legal matters. AMc also provided public affairs, crisis management, and

 communications strategy media issues. In paragraph thirty-five, Mr. Carter states that AMc “never

 presented to the Public Affairs Committee in connection with these types of issues.” No matter

 the NRA adversary, crisis, or challenge, AMc was consulted and called upon to advise and provide

 the NRA with assistance in public affairs, crisis management, communication strategy, media

 issues, reputational exposure, media relations, and corporate communications, as well as

 advertising, web development, and marketing. In fact, every month since its incorporation, the

 NRA paid a monthly Mercury Group invoice for strategic and crisis communications services.

        8.      I have also reviewed the Declaration of Andrew Arulanandam that was filed in

 support of the NRA’s Opposition. In paragraph five of his declaration, Mr. Arulanandam states

 that he has worked with Travis Carter and other members from the Brewer Firm with

 communications relating to legal and regulatory matters, and that they have assisted in formulating

 media advisories, drafting public statements, and coordinating media relations activities. Once

 again, these are many of the exact same tasks that AMc has been responsible for developing and

 implementing for the NRA for nearly forty years.

        9.      I have also read paragraphs 17 – 21 of Mr. LaPierre’s declaration suggesting that

 AMc was working with or directing Lt. Col. Oliver North to engage in a failed extortion attempt

 on April 24, 2019. These allegations are false and completely ridiculous. As Col. North, Millie

 Hallow, and Carolyn Meadows have all testified, AMc was not engaging, directing, or otherwise




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 involved in any extortion, coup, or threat to have Mr. LaPierre step down. I am not aware of a

 single AMc executive, employee, or representative that instructed, directed, recruited, or otherwise

 asked and even discussed with Dan Boren or Col. North to convey any kind of message, directive,

 or threat to Mr. LaPierre about resigning or stepping down, much less the notion that AMc would

 take some sort of affirmative action if Mr. LaPierre did not resign or step down. Angus McQueen

 has always said, this is Wayne’s Rifle Association.

        10.     I have further read the NRA’s allegations that Col. North was working on behalf of

 or at the direction of AMc when he was attempting to have Mr. Brewer’s attorneys’ engagement

 and invoices independently audited. I am not aware of a single AMc employee that was working,

 overseeing, directing, or otherwise involved in Col. North’s attempts to have Mr. Brewer’s

 attorneys’ invoices independently audited.

        11.     I have also reviewed the Declaration of Michael Erstling that was filed in support

 of the NRA’s Opposition. In paragraph six of Mr. Erstling’s declaration, he states that “Ackerman

 regularly issued six-figure invoices to the NRA with little detail or support, and systematically

 obfuscated and blocked the NRA’s efforts to understand what services were covered by any

 particular invoice.” As Mr. Erstling knows, the NRA and AMc’s relationship spans nearly four

 decades. For at least the last fifteen years, Mr. LaPierre and Mr. Phillips, instructed myself and

 numerous other representatives of AMc to intentionally provide less descriptive invoices. I was

 told by Mr. LaPierre that the reason for this was because he had concerns with confidentiality, and

 specifically concerns about leaks within the NRA’s accounting department. Over the years, both

 Mr. LaPierre and Mr. Phillips would remind me and other AMc representatives to intentionally

 keep AMc’s invoices to the NRA brief. I had no personal knowledge that Mr. Erstling or other

 Board members were concerned with the amount of detail in AMc’s invoices that Mr. LaPierre




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 and Mr. Phillips directed for decades until late 2018 after Mr. Brewer was retained by the NRA.

 The two times I recall Mr. Erstling requesting information about an invoice was to determine who

 purchased equipment in relation to Sales & Use Tax Exemption in the State of Texas.

        12.     If Mr. Erstling truly had concerns about the apparently lack in detail by AMc in the

 invoices to the NRA, he should have expressed those concerns to Mr. LaPierre or Mr. Phillips. He

 certainly never contacted me about it.

        13.     Mr. Erstling further states that AMc refused to cooperate with requests for

 information. I believe this statement to be false. Each year since the NRA and AMc’s relationship

 began, the NRA has conducted at least one annual audit of AMc’s documents under the parties’

 Services Agreement. Until Mr. Brewer’s involvement, I do not recall a single instance where the

 NRA expressed concerns about the information AMc was providing to the NRA as part of these

 audits or where the NRA accused AMc of withholding anything. To the extent the NRA requested

 back up for invoices or further explanation for projects, AMc provided that information to the

 NRA, typically through Mr. LaPierre and/or Mr. Phillips. During many of these audits, Mr.

 LaPierre specifically instructed AMc not to disclose certain information to the auditors, including

 the NRA Foundation’s Chief Financial Officer, Rick Tedrick. As I stated above, Mr. LaPierre

 repeatedly told me that he did not trust the members of the NRA’s accounting department. Prior

 to Mr. Brewer’s involvement with the NRA, I do not recall a single complaint from anyone at the

 NRA that AMc failed to provide the requested information as part of the NRA’s audits of AMc’s

 documents.

        14.     In paragraph five of Mr. Erstling’s declaration, he states that the annual budget was

 made difficult because AMc deviated from the budget parameters set by the NRA and that he was

 provided no insight into the basis for the budgets or whether AMc would adhere to them. For as




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 long as I have been at AMc, Mr. LaPierre and Mr. Phillips have been responsible for helping to

 create and finalize the annual budget between the NRA and AMc. Each year, Mr. LaPierre, with

 the assistance and knowledge of Mr. Phillips, approved the annual budget between the NRA and

 AMc. The exception to this was for the 2019 budget, which involved Craig Spray, Mr. Phillips’

 successor. I am not aware of Mr. Erstling ever participating in any budget process with AMc. Mr.

 Erstling’s apparent issues with budget increases were not the problem of AMc, but with Mr.

 LaPierre who would call us and request other projects outside the budget. Many of these were to

 be billed to his public relations budget. I marked these as “Wayne/PR” and requested Mr. Tedrick

 speak with Mr. LaPierre for any questions. Once again, I believe that Mr. Erstling’s apparent lack

 of knowledge regarding the budget was not a result of AMc’s failure to provide the NRA with

 information, but Mr. LaPierre’s failure to provide information to the NRA.

        I declare under penalty of perjury and in accordance with 28 U.S.C. § 1746 that the

 foregoing is true and correct.



        Executed this 3rd day of June, 2020.



                                               Nader
                                                 der Tavangar




 DECLARATION OF NADER TAVANGAR                                                             PAGE 7
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

  NATIONAL RIFLE ASSOCIATION OF                       §
  AMERICA,                                            §
                                                      §
         Plaintiff and Counter-Defendant              §
                                                      §
  and                                                 §
                                                      §
  WAYNE LAPIERRE,                                     §
                                                      § Civil Action No. 3:19-cv-02074-G
         Third-Party Defendant,                       §
                                                      §
  v.                                                  §
                                                      §
  ACKERMAN MCQUEEN, INC.,                             §
                                                      §
         Defendant and Counter-Plaintiff,             §
                                                      §
  MERCURY GROUP, INC., HENRY
                                                      §
  MARTIN, WILLIAM WINKLER,
                                                      §
  MELANIE MONTGOMERY, and JESSE
                                                      §
  GREENBERG,
                                                      §
                                                      §
         Defendants.
                                                      §

                       DECLARATION OF WILLIAM POWERS

        Pursuant to 28 U.S.C. § 1746, I, William Powers, hereby declare as follows:

        1.      My name is William Powers. I am over the age of 18 years and of sound mind. I

 have never been convicted of a felony or a crime of moral turpitude. The facts stated herein are

 true and correct, and based on my personal knowledge. I submit this declaration in response to

 the National Rifle Association of America’s (“NRA”) Opposition to Defendants’ Motion to

 Disqualify Plaintiffs’ Counsel (the “Opposition”).

        2.      I am the Executive Vice President for Public Relations at Ackerman McQueen,

 Inc. (“AMc”). I begin working at AMc in 1992. In 1996, I left AMc to go work for the NRA as




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 their Director of Public Affairs and Corporate Communications. In 2001, I left the NRA and

 went back to AMc, which is where I have been employed since. For the last decade, I have been

 primarily responsible for writing the speeches of the NRA’s Executive Vice President, Wayne

 LaPierre. I have also been intimately involved with assisting Mr. LaPierre and the NRA with

 drafting press releases, responding to media inquiries, negotiating media appearances, and other

 media and public relations tasks to help the NRA and Mr. LaPierre communicate the NRA’s

 message to the public.

        3.      I have reviewed the Declarations of Andrew Arulanandam and Travis Carter that

 were filed in support of the NRA’s Opposition, and their statements that Brewer Attorneys &

 Counselors’ (the “Brewer Firm”) Public Relations work has been limited to assisting with legal

 and regulatory issues. I have personal knowledge that the Brewer Firm drafted speeches and

 media statements that were previously exclusively handled by me, other AMc representatives,

 and the NRA.

        4.      In late January 2019 or early February 2019, I was told by Mr. LaPierre that the

 Brewer Firm would be writing his speech for the upcoming annual Conservative Political Action

 Conference (“CPAC”) meeting in National Harbor, Maryland. The CPAC speech was a very

 important speech for Mr. LaPierre and the NRA each year. This speech typically set the tone for

 the message leading up to the NRA convention. This was a speech that had previously always

 kicked off a national strategy of messaging for the NRA. It was the first major address of the

 year of the organization, of Mr. LaPierre, and as a first step of messaging it was critical for

 public relations, member relations, donor relations, direct mail and grassroots activism for the

 NRA. For at least the last 10 years, I had written Mr. LaPierre’s CPAC speech, of course with

 Mr. LaPierre’s input.




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        5.       In addition to writing Mr. LaPierre’s speeches, I would personally attend the

 speeches and spend several days prior to help Mr. LaPierre rehearse. I was also routinely

 responsible for making sure that Mr. LaPierre’s speeches were loaded into the teleprompter and

 properly operating. Just days before Mr. LaPierre’s 2019 CPAC speech, I still had not seen the

 speech. I asked Mr. Arulanandum when I was going to receive the speech. Mr. Arulanandum

 then provided me a copy of the speech that Mr. Arulanandum obtained from Mr. Carter at the

 Brewer Firm. During rehearsals for Mr. LaPierre’s 2019 CPAC speech, he would routinely ask

 me questions and express concerns about the speech prepared by the Brewer Firm, and would

 ask about suggested edits that I would make. It was not uncommon for Mr. LaPierre and me to

 make edits to his speeches during the rehearsal process. In response to Mr. LaPierre’s questions

 about edits to his speech, I repeatedly told him that I did not feel comfortable making edits to a

 speech that had been prepared by the Brewer Firm.

        6.       Several weeks before the annual NRA members meeting in April 2019, I was told

 by Mr. LaPierre that, again, the Brewer Firm was going to be preparing Mr. LaPierre’s Saturday

 speech for the NRA members. I was told that this speech was going to be an update to the prior

 speech the Brewer Firm had prepared for Mr. LaPierre at the 2019 CPAC convention.

        7.       I attended the entirety of the April 2019 NRA’s members meeting in Indianapolis,

 Indiana.    During rehearsals for Mr. LaPierre’s Saturday speech, he again repeatedly asked me

 questions and expressed concerns about the speech prepared by the Brewer Firm, and asked me

 for proposed changes. Similar to the CPAC speech, I repeatedly told Mr. LaPierre that I did not

 feel comfortable making edits to a speech that had been prepared by the Brewer Firm.

        8.       I have read the Declaration of Mr. LaPierre where he suggests that Mr. Brewer

 was not in Indianapolis for the April 2019 NRA members’ meeting. While I was in the hotel




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 lobby in Indianapolis for the NRA’s members’ meeting in April 2019, I personally saw Mr.

 Brewer and Josh Powell together.

        9.      In the summer of 2019, Mr. LaPierre called me. During the brief conversation, he

 asked me for advice on the NRA’s response to recent mass shootings across the United States.

 During that telephone call, Mr. LaPierre explained to me Mr. Arulanandum was working with

 Mr. Carter at the Brewer Firm on the NRA’s statement in response to these mass shootings.

 Based on my conversation with Mr. LaPierre, I did not understand this statement to have

 anything to do with NRA’s legal and regulatory issues. The NRA issued its statement on August

 4, 2019 and their statement had nothing to do with legal or regulatory issues. AMc was always

 historically tasked with working with Mr. LaPierre and the NRA on their appropriate response to

 mass shootings, guns, and the Second Amendment.

        10.     I have also reviewed the Declaration of Mr. Carter, and his statements about the

 NRA having to respond to the increasingly hostile media statements by AMc. After the filing of

 the NRA’s lawsuit in April 2019, I received numerous inquiries from media outlets across the

 country looking for a comment from AMc. The first public statement that I am aware AMc

 made was in response to the NRA’s lawsuit and allegations. Given what I believe to be the false

 allegations being made by the NRA against AMc and the negative publicity about AMc being

 generated, in part, because of the NRA and the Brewer Firm’s statements to the media, AMc felt

 that it was appropriate and necessary to publicly refute the NRA’s claims. Since that time, NRA

 representatives and the Brewer Firm have continued to make public statements to the media

 about AMc, about which AMc has again received numerous media inquiries and to which AMc

 has responded at times to defend itself. To my knowledge, AMc has never initiated any media

 coverage regarding this dispute.




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        11.     The cumulative effect of the media relations efforts of the partnership between the

 Brewer Firm and Mr. LaPierre can best be understood by the following anecdote: In March of

 2020, I telephoned a producer at NBC’s “Meet the Press.” I have known this producer for some

 twenty years. We were personal friends, and I called her to discuss a personal favor. Near the

 end of our conversation, this producer briefly mentioned the NRA, its messaging and public

 relations, and Mr. LaPierre. Specifically, she said as it relates to Mr. LaPierre: “We don’t even

 want him on our show anymore. He’s irrelevant.”

        12.     I have also read paragraphs 17 – 21 of Mr. LaPierre’s declaration suggesting that

 AMc was working with or directing Lt. Col. Oliver North to engage in a failed extortion attempt

 on April 24, 2019. I am not aware of a single AMc executive, employee, or representative that

 instructed, directed, recruited, or otherwise asked and even discussed with Dan Boren or Col.

 North to convey any kind of message, directive, or threat to Mr. LaPierre about resigning or

 stepping down, much less the notion that AMc would take some sort of affirmative action if Mr.

 LaPierre did not resign or step down.

        13.     I have further read the NRA’s allegations that Col. North was working on behalf

 of or at the direction of AMc when he was attempting to have Mr. Brewer’s attorneys’

 engagement and invoices independently audited. I am not aware of a single AMc employee that

 was working, overseeing, directing, or otherwise involved in Col. North’s attempts to have Mr.

 Brewer’s attorneys’ invoices independently audited.

        I declare under penalty of perjury and in accordance with 28 U.S.C. § 1746 that the

 foregoing is true and correct.




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       Executed this 3rd day of June, 2020.


                                              William Powers
                                              William Powers




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 NATIONAL RIFLE ASSOCIATION OF        §
 AMERICA,                             §
                                      §
     Plaintiff and Counter-Defendant, §
                                      §
 and                                  §
                                      §
 WAYNE LAPIERRE,                      §
                                      §
     Third-Party Defendant,           §
                                      §
 v.                                   §                    Case No. 3:19-cv-02074-G
                                      §
 ACKERMAN MCQUEEN, INC.,              §
                                      §
     Defendant and Counter-Plaintiff, §
                                      §
 and                                  §
                                      §
 MERCURY GROUP, INC., HENRY           §
 MARTIN, WILLIAM WINKLER,             §
 MELANIE MONTGOMERY, AND JESSE §
 GREENBERG,                           §
                                      §
     Defendants.


              DECLARATION OF COYT RANDAL “RANDY” JOHNSTON

        Pursuant to 28 U.S.C. § 1746, I, Coyt Randal Johnston, hereby declare as follows:

        1.     My name is Coyt Randal “Randy” Johnston. I am over eighteen years of age. I

 have never been convicted of a felony or misdemeanor involving moral turpitude. I am competent

 to make this Declaration in support of Ackerman McQueen, Inc.’s (“AMc” or “Defendant”)

 Motion to Disqualify Plaintiff’s Counsel (William A Brewer III and Brewer Attorneys &

 Counselors) (“Motion to Disqualify”).




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                                  Qualifications as Expert Witness

        2.      I am an attorney in Dallas, Texas. I graduated with honors from the University of

 Texas School of Law in 1974, and have been licensed to practice law in Texas since October 22,

 1974. I also am licensed to practice in Utah and in multiple federal courts including the Northern

 District of Texas. I am board certified in civil trial law by the Texas Board of Specialization. I am

 a founder and shareholder in the law firm of Johnston Tobey Baruch, P.C. Since being licensed in

 1974, my practice has been predominantly litigation-based, with various areas of substantive

 expertise in connection with litigation, arbitration, and dispute resolution.

        3.      I began my practice in 1974, with the law firm of Baker Botts L.L.P. in Houston. I

 moved to Dallas in 1979, and practiced with the law firm of Hewitt Johnson Swanson & Barbie.

 In 1981, I formed my own law firm and have practiced on my own, under different firm names,

 ever since.

        4.      Since 1981, a major portion of my practice has consisted of legal malpractice,

 attorney fee disputes, professional liability matters, and legal ethics. I cannot state how many

 lawyer disputes I have handled over that period of time. It is a lot. I have written and spoken

 extensively on the subject, including numerous continuing legal education presentations relating

 to ethical issues including the attorney-client privilege.

        5.      In addition to my work in the area of legal malpractice, I also have experience in

 connection with general commercial, business, and personal injury litigation, both on an hourly

 and contingent fee basis. I have handled a few, but not many, family law and criminal disputes. I

 represent both plaintiffs and defendants, although most of my practice since 1981 has been a

 plaintiff-based and contingent-fee practice.

        6.      I have been an instructor for the Trial Advocacy College of Texas and the National

 Institute of Trial Advocacy. I have taught professional responsibility at the University of North


 DECLARATION OF COYT RANDAL JOHNSTON                                                           Page 2
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 Texas School of Law, and lectured numerous times at the SMU Dedman School of Law. I chaired

 the Business Litigation Section of the Dallas Bar Association and served as President of the Dallas

 Trial Lawyers Association. I have also served as President of the Dallas Chapter of the American

 Board of Trial Advocates, and I served on the Executive Committee of that organization for over

 a decade. I am a Fellow in the International Academy of Trial Lawyers, an organization whose

 membership is limited to 500 attorneys worldwide. I am the author of the 2009 book, Robbed at

 Pen Point. I am also the author of the chapter on Ethics in the book, Texas Business Litigation. A

 copy of my C.V. with a list of my speeches and papers is attached hereto as Exhibit A.

                                      Scope of Engagement

        7.      I have been retained by AMc and related parties and their counsel in the above-

 referenced case to review materials provided to me and to render various opinions in connection

 with Defendant’s Motion to Disqualify Plaintiff’s Counsel, William A Brewer III (“Brewer”) and

 Brewer Attorneys & Counselors (the “Brewer Firm”). The issues in dispute in this motion focus

 on the actions of Mr. Brewer and other members of the Brewer Firm since approximately May

 2018. I am being paid for my time at the rate of $690/hour.

        8.      Much of my work in this proceeding has focused on the declarations of James M.

 McCormack, Richard E. Flamm, and Nancy J. Moore filed in support of the NRA’s Response to

 Defendants’ Motion to Disqualify (“Response”). Although I respect these individuals, I believe

 their declarations exceed the boundaries for expert testimony in this proceeding and reflect

 opinions and conclusions more aptly labeled as advocacy rather than true expert testimony.

        9.      My opinions in this declaration are based on my review of the documents provided

 to me by Defendants’ counsel, Dorsey & Whitney LLP (“Dorsey”). Dorsey has provided me with

 all documents I requested and has been responsive to all my questions. There may be other




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 documents of which I am unaware. I have not had the privilege of reviewing at least one of the

 documents Mr. McCormack relied upon, that being the declaration of Skye Brewer. I prepared this

 declaration and formed these opinions for use in this proceeding only.

        10.     My opinions are based upon the facts of this case and may not be transportable to

 other cases. I may be requested to issue opinions on other subjects during this litigation, and I may

 review additional documents. Accordingly, I reserve the right to form additional opinions and

 modify or supplement these opinions based upon further requests and my continued review of the

 documents and facts as discovery continues.

                            Summary of Expert Witness Role/Process

        11.     As an attorney acting as an advocate for my clients, I have on occasion been accused

 of hyperbole and excessive enthusiasm for the position of those clients. On some occasions I was

 guilty of that offense. As an expert witness, however, I am not an advocate and am not charged

 with determining the outcome of this litigation. On the contrary, my job as an expert witness is to

 provide a reasoned analysis of the facts, without regard to whether it helps or hurts the party who

 retained me. I have endeavored to adhere to that role throughout this engagement, although others

 will have to decide the extent to which I have succeeded.

        12.     Expert witness testimony is, by definition, opinion testimony. For an expert to be

 permitted to express an opinion, the expert must believe that the subject of the opinion is

 probable—meaning more likely than not. This often is expressed as a probability of 51% or greater.

 In other words, an expert need not be 100% absolutely certain of an opinion; few opinions can be

 expressed with that level of certainty. But there is a significant difference between the opinions

 the expert may hold with the level of certainty of 51% as contrasted with a much higher level of




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 certainty. Where possible, I have attempted to express the level of certainty I attach to my opinions

 so that they can be fairly evaluated by the judge in this case.

        13.     Expert witness testimony in connection with disqualification motions is burdened

 further by the possibility that the expert witness may be testifying about matters strictly within the

 judge’s province—most commonly matters of law. I have endeavored to avoid testifying on

 matters of law to be decided by the Court although my opinions are, of necessity, grounded in my

 understanding of the law on the relevant subjects. To the extent the Court believes I am testifying

 on matters of law within its province, or that I have misstated the law through my opinions, the

 Court will disregard my opinions and rely on its own opinions on such matters.

        14.     Having conceded that my role is not that of an advocate for one of the parties, I

 admit I feel a level of advocacy for my profession as a whole. That duty is reflected in the Texas

 Disciplinary Rules of Professional Conduct, the ethical code to which all lawyers in the State of

 Texas must adhere. That code requires lawyers to take some level of personal responsibility for

 ensuring that other lawyers adhere to the ethical rules, for the benefit of both the legal profession

 and the public at large.

        15.     I do not believe that it is within my province as an expert to opine on the

 admissibility of the parties’ evidence, nor on the credibility or significance of the evidence, as both

 are matters for the judge to consider in this proceeding. Where possible, my opinions are based

 upon the documents and the undisputed facts as revealed in the pleadings of the parties. There are

 times, however, where the parties tell different stories or view undisputed facts differently. The

 judge will decide whose version of the facts is correct on those occasions. I do believe, however,

 that it is my duty to point out instances in which Mr. McCormack, Mr. Flamm, and Ms. Moore




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 failed to consider certain evidence, or made improper admissibility or credibility determinations

 reserved for the judge.

        16.     As stated above, I have significant experience in the fields of legal malpractice,

 attorney fee disputes, professional liability matters, and legal ethics, which provide me with the

 requisite level of competence and expertise to render opinion testimony in these areas. Although

 I am an experienced attorney, I am no more qualified to render opinions on certain matters in this

 proceeding than any other licensed attorney, including issues such as standing, waiver, and various

 evidentiary matters. I believe that opinion testimony on these issues impermissibly crosses the

 line from expert testimony into advocacy, and I will refrain from offering my opinions in this

 regard. But to preserve the integrity of the expert witness process, I am obliged to point out

 instances where Mr. McCormack, Mr. Flamm, and Ms. Moore have rendered opinions outside

 their specific areas of expertise and therefore have begun to “advocate” in contravention to the

 duty of an expert witness.

                                       Summary of Opinions

        17.     Let me begin by stating that in my years as a Texas attorney practicing, speaking,

 and publishing on the topic of professional ethics, I do not recall a case with this particular set of

 facts, where one family member is acting as the attorney for a plaintiff suing a defendant company

 run by the attorney’s father- and brother-in-law. In conjunction with the allegations set forth by

 both parties, I find that this case presents unique and compelling ethical inquiries for which, to my

 knowledge, no legal precedent exists. Regardless, I am of the opinion that the issues in this case

 cannot be addressed merely through the analysis of the black-letter rules, but instead, in keeping

 with the law of the Fifth Circuit, require a consideration of the purpose and general principles

 underlying the applicable codes of professional ethics.




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        18.     As an initial matter, I find that the opinions of Mr. McCormack, Mr. Flamm, and

 Ms. Moore exceed the established boundaries for expert testimony in this proceeding. Each of their

 opinions relies upon a weighing of evidence and rendering of intermediate legal opinions that are

 outside their respective areas of expertise, which compromises the reliability and helpfulness of

 their expert testimony overall.

        19.     Furthermore, I do not believe that the opinions of Mr. McCormack, Mr. Flamm,

 and Ms. Moore are sufficiently grounded in all available evidence to support the conclusions they

 make. In addition to engaging in improper fact-finding, each declarant makes his or her own

 subjective determinations of what evidence to consider and what evidence to exclude, providing

 no explanation for their omissions. I believe that the exclusion of certain evidence is improper in

 light of the general standard for evaluating a motion to disqualify in the Fifth Circuit, which calls

 for a less “mechanical” approach and, instead, a more comprehensive evaluation of the totality of

 the circumstances. In my opinion, an analysis of all facts and circumstances in this proceeding is

 warranted, and I do not believe that Mr. McCormack, Mr. Flamm, or Ms. Moore sufficiently

 engaged in this inclusive evaluation in a manner sufficient to support their conclusions.

        20.     Because an opinion on the ultimate issue in this matter relies upon too many

 intermediate conclusions of fact and law within the judge’s exclusive province, I cannot, as an

 expert witness, render an opinion regarding whether Mr. Brewer and/or the Brewer Firm should

 be disqualified. But I disagree that the opposite is true—and I do not believe that Mr. McCormack,

 Mr. Flamm, or Ms. Moore can opine conclusively that no grounds for disqualification exist.

        21.     To the contrary, I believe that when all facts and circumstances are considered, this

 case presents a unique situation that, to my knowledge, never has been addressed in any case law

 that I have found. I believe that the Court has a duty—for the litigants, for the legal profession,




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 and for society as a whole—to undergo a rigorous and “painstaking” factual analysis and

 determine, under the totality of the circumstances, if there is a “reasonable possibility” that an

 actual ethical impropriety has occurred. It is my opinion that Mr. McCormack, Mr. Flamm, and

 Ms. Moore, each engage in an inappropriately myopic analysis of each rule, analyzing only a single

 discreet rule and a selective group of facts at a time.

         22.     If there is a “reasonable possibility” that Mr. Brewer engaged in improper

 communications with a represented party, if there is a “reasonable possibility” that Mr. Brewer

 used tactics to intentionally inflict emotional distress on the McQueen family, if there is a

 “reasonable possibility” that Mr. Brewer or any member of the Brewer Firm assisted the NRA to

 defraud or defame AMc, if there is a “reasonable possibility” that the animus existing between Mr.

 Brewer and the McQueen family caused Mr. Brewer to act in a manner unbefitting of the high

 standards of civility and human decency required for a Texas attorney, then the Court is well within

 its discretion to consider disqualification.

                                          Factual Background

         23.     The factual background for the Motion to Disqualify Mr. Brewer and the Brewer

 Firm is set out in the respective pleadings of the parties. I will list only those facts, allegations, and

 evidence that seem to have been omitted by Mr. McCormack, Mr. Flamm, and Ms. Moore in their

 declarations, or instances in which I believe Mr. McCormack, Mr. Flamm, and/or Ms. Moore

 engaged in an impermissible evaluation of the evidence in order to reach their conclusions. In

 setting out these background facts and allegations, I make no evaluation of their merits or the

 evidence cited in their support, although I have attempted to note instances where Plaintiff did not

 deny or refute Defendants’ allegations or evidence. Where I have made reference to passages from




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 either of the party’s pleadings, I incorporate any evidence cited in those passages within my

 reference.

              x    Mr. Brewer is married to Skye McQueen Brewer, the daughter of AMc’s late CEO,
                   Angus McQueen, and the sister of its current CEO, Revan McQueen. The personal
                   relationship between Mr. Brewer and the McQueen family, particularly Angus
                   McQueen, has apparently been characterized by an amount animosity for the last
                   twenty years. 1 Although Plaintiff’s Response includes a single statement that this
                   is “false,” 2 I did not see any evidence establishing that the personal relationship
                   between Mr. Brewer himself and Angus McQueen was in fact positive. 3 Rather,
                   most of the evidence and analysis that addresses the relationship concedes to an
                   amount of “animus” that appears to have existed between the two men. 4

              x    As part of the Brewer Firm’s engagement agreement with the NRA, the scope of
                   work appears to contemplate the intentional termination of the NRA’s third-party
                   contracts: “litigation and strategic needs arising from the termination or potential
                   termination of key corporate relationships by contract counterparties.” 5

              x    Certain NRA executives were initially concerned about Mr. Brewer’s familial
                   relationship with Angus and Revan McQueen. 6 In support, Defendants present
                   deposition testimony from former NRA President, Lt. Col. Oliver North, former
                   General Counsel to the Board of Directors, Steve Hart, and current NRA General
                   Counsel, John Frazer. Mr. Frazer testified that he agreed that the family relationship
                   could create the “appearance of a conflict.” 7

              x    Since his engagement, the NRA has had internal complaints by one or more NRA
                   employees that the Brewer Firm engaged in practices such as duplicative billing,
                   prioritizing payments to itself over other NRA vendors, monitoring NRA employee
                   email accounts, and threatening and intimidating NRA staff who process its bills. 8

              x    Mr. Brewer and the Brewer Firm made a series of communications and media
                   statements during 2018 and 2019, which appear to have correlated with certain life
                   events of the McQueen Family, which Mr. Brewer would have known as a result

 1
   ECF 79, Defendants’ Brief in Support of Motion to Disqualify (“Motion to Disqualify”) at ¶¶ 2-3; ECF 80 at Ex. B
 (Declaration of Revan McQueen).
 2
   ECF 121 (Plaintiff’s Response) at 4.
 3
   ECF 122 at Ex. 49 (Declaration of Travis Carter). The Declaration of Travis Carter (May 4, 2020) states that Carter
 himself had occasionally referred business to AMc and that he had personally worked with AMc on numerous
 projects on behalf of AMc, but it does not directly speak to the personal relationship between Mr. Brewer and the
 McQueen family.
 4
   ECF 122 at Ex. 45 (Declaration of John Frazer) at ¶ 4; ECF 81 at Ex. A-2 (Steve Hart Depo.) at 214:1-12, 242:11-
 12.
 5
   ECF 31 (Defendants’ Amended Complaint) at ¶ 56, Ex. C.
 6
   Motion to Disqualify at ¶ 10, 25, 40.
 7
   ECF 81 at A-6 (Frazer Depo.) at 374:7-376:18.
 8
   Motion to Disqualify at ¶ 11, Ex. A-67.



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                  of the family relationship. 9 Defendants believe these events were not accidental
                  but strategically timed with the intention of inflicting emotional distress on the
                  McQueen family. 10 I note that Plaintiff’s Response does not substantively deny or
                  refute these claims. 11 Nor is this issue addressed in any of the supporting
                  declarations or other exhibits offered in support of Plaintiff’s Response.

              x   The Brewer Firm has a team of employees that performs public relations services.12
                  Although the parties dispute whether the Brewer Firm is a “competitor” of AMc, it
                  appears that the Brewer Firm is performing one or more services that AMc used to
                  provide for the NRA in the area of public relations and crisis management. 13

              x   While he was still NRA President in 2019, Lt. Col. Oliver North began a letter-
                  writing campaign to investigate the fees being charged to the NRA by the Brewer
                  Firm. 14 He was never provided with access to the information he requested. 15 North
                  testified that he sought to ensure that the Brewer Firm was complying with NRA
                  vendor policies due to concerns raised by NRA members. 16 The Motion to
                  Disqualify presents this investigation as one possible motive for Mr. Brewer’s
                  alleged retaliation against North, achieved by tortiously interfering with the NRA’s
                  contract with AMc and accusing both AMc and North of engaging in extortion.17
                  Plaintiff’s Response does not specifically deny or refute these claims regarding
                  North’s investigation.

              x   In short succession during 2019, Lt. Col. North and several other board members,
                  vendors, and key members of NRA leadership resigned or were fired from their
                  respective positions. The Motion to Disqualify describes this mass exodus as an
                  “ousting” of certain dissenters who questioned the retention of Mr. Brewer or the
                  Brewer Firm, which was supported by the testimony of Col. North and Steve Hart. 18
                  Plaintiff’s Response does not deny or refute that these oustings occurred or the
                  reason they allegedly occurred.

              x   The NRA first became adverse to AMc no later than September 5, 2018. 19 The
                  three audits that the NRA conducted of AMc occurred in September 2018,
                  November 2018, and February 2019. Defendants believe that all audits occurred

 9
   Declaration of Revan McQueen ¶¶ 14-35.
 10
    Motion at to Disqualify at § C.
 11
    Plaintiff’s Response at 4.
 12
    Declaration of Travis Carter (May 4, 2020).
 13
    Id.; Motion to Disqualify at ¶¶4-5;
 14
    Motion to Disqualify at ¶¶ 9-12.
 15
    Motion to Disqualify at ¶ 12.
 16
    ECF 81 at Ex. A-3 (Oliver North Depo.) at pp. 107:8-110:7, 128:20-130:7, 135:6-137:14, 141:3-18, 152:9-153:16,
 169:23-170:7, 181:7-183:14, 184:17-186:17.
 17
    Motion to Disqualify at ¶¶ 13-19.
 18
    See id.
 19
    See April 22, 2019 Correspondence from Wayne LaPierre to Mark Dyscio, dated April 22, 2019 (LaPierre explains
 that “[t]he NRA and I have common legal interests in the litigation against Ackerman McQueen which crystallized
 before the September Board meeting and colored the discussion that day.”). I understand the September 2018 Board
 meeting referenced by Mr. LaPierre began on September 5, 2018 in Dallas, Texas.



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                  after the NRA’s decision to terminate the contract and sue for breach of the records-
                  inspection clause. 20 Plaintiff’s Response does not refute or deny this allegation.

             x    Since that date, Revan McQueen states that Mr. Brewer twice threatened Revan
                  and Angus with indictment, once communicated through Wayne LaPierre, and once
                  communicated through a member of Revan McQueen’s family. 21 Plaintiff’s
                  Response does not deny or refute these allegations.

             x    Revan McQueen also states that, since the date the NRA’s first lawsuit was filed
                  on April 12, 2019, Mr. Brewer sent messages through members of the McQueen
                  family and, on one occasion, even encouraged Mr. McQueen to “break privilege”
                  and call Mr. Brewer to learn “how to get out of this.” 22 Plaintiff’s Response does
                  not deny or refute these allegations.

             x    Defendants’ counterclaims also describe another possible motive for the NRA to
                  terminate its relationship with AMc, specifically, termination of its contract with
                  AMc “for cause” in order to avoid payment of large termination fees. 23 Defendants
                  believe that the Brewer Firm was helping the NRA fish for evidence that would
                  support this type of “for cause” termination, which could be achieved by showing
                  AMc’s failure to comply with the “records inspection” clause of the contract. 24 In
                  support of this allegation, Mr. Hart testified that the documents that the Brewer
                  Firm was requesting from AMc were in fact unreasonable. 25 AMc also outlined the
                  three different audits that AMc underwent, which were conducted within a period
                  of six months.26 Following these audits, AMc did not receive any follow-up
                  requests for information or receive any complaints that documents were withheld.27
                  Defendants believe these audits were “fake,” meaning they did not represent any
                  legitimate need for information by the NRA but were specifically designed create
                  the appearance of non-compliance and wrongdoing. 28

             x    Revan McQueen states that in October of 2018, Mr. LaPierre promised him that the
                  Brewer Firm would no longer be handling matters adverse to AMc. 29 Mr.
                  McQueen states that AMc was prepared to resign his business with AMc over his
                  concerns about Mr. Brewer’s representation against AMc, but that Mr. LaPierre
                  implored him to “stick with” him. 30 Mr. McQueen further states that, in reliance
                  on this promise, AMc agreed to undergo a nine-day audit by an independent firm


 20
    Motion to Disqualify at ¶ 21.
 21
    Declaration of Revan McQueen at ¶¶ 23, 31.
 22
    Id. at ¶ 31.
 23
    ECF 31 (Defendants’ Amended Counterclaim) at ¶¶ 27-29, 56, 65-67.
 24
    Motion to Disqualify at ¶¶ 20-26.
 25
    ECF 81 at Ex. A-2 (Steve Hart Depo.) at 230:2-231:3, 231:13-232:18, 304:18-306:12.
 26
    Motion to Disqualify at ¶¶ 20-21; Declaration of Revan McQueen.
 27
    Declaration of Revan McQueen.
 28
    Motion to Disqualify at ¶¶ 20-26.
 29
    Declaration of Revan McQueen at ¶¶ 24-25.
 30
    Id. at ¶ 25.



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                  called Forensic Risk Alliance (FRA). 31 Although Mr. LaPierre promised
                  independence, a 17-year employee of the Brewer Firm, Susan Dillon, went to work
                  for FRA just before the AMc audit and participated in that audit without AMc’s
                  knowledge. 32 Moreover, Ms. Dillon has since returned to work for the Brewer
                  Firm. 33 Plaintiff does not deny or refute these allegations, nor do any of its
                  declarants or experts provide an explanation for Ms. Dillon’s surreptitious
                  employment with FRA, or indicate whether the NRA was aware of this arrangement
                  when it engaged FRA.

              x   On the date the NRA filed its first lawsuit against AMc, April 12, 2019, the NRA
                  was already familiar with and in possession of at least one document it claimed in
                  its pleadings had been withheld. 34 Plaintiff’s Response does not deny or refute this
                  allegation.

              x   Since at least 1988, Mr. Brewer has built his career and professional reputation
                  upon a disfavored and ethically questionable style of litigation dubbed “Rambo
                  justice” and has been described as the poster child for “scorched-earth” litigation.35
                  Although I approach inclusion of Mr. Brewer’s reputational background with
                  caution, I do not believe a comprehensive ethical analysis of this case can be
                  completed without some consideration of the unique approach to “zealous
                  advocacy” Mr. Brewer promotes. The judge will determine any applicable issues
                  of admissibility.

              x   In addition, in an article published in May 2019, Mr. Brewer promotes a different
                  professional philosophy that focuses on advancing clients’ reputational interests
                  and using “the court of public opinion” to gain strategic advantages in their
                  advocacy. 36 Apparently a longstanding philosophy, even in Mr. Brewer’s 1998
                  “Rambo Justice” article, he discusses the use of media to create a “climate” that
                  will produce a “favorable outcome” for his client without the need for the
                  courtroom or evidence. 37

              x   Since the beginning of litigation between the two parties in April 2019, Mr. Brewer
                  or a member of the Brewer Firm has been quoted in at least 16 different news
                  articles regarding the claims made in the litigation and including unfavorable
                  statements about AMc. 38 I have not seen evidence that AMc initiated any of the
                  media statements, including the first article covering the parties’ dispute.




 31
    Id. at ¶ 29.
 32
    Motion to Disqualify at ¶ 26.
 33
    Id.; https://www.brewerattorneys.com/susan-dillon.
 34
    Motion to Disqualify at ¶¶ 9, 13, 47.
 35
    Id. at ¶ 32, Ex. A-60.
 36
    Id. at Ex. A-7.
 37
    Id. at Ex. A-60.
 38
    Id. at Appx. A.



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               x   The Brewer Firm’s media statements appear to revolve around two main themes or
                   “narratives.” 39 The first narrative involves claims that AMc did not comply with
                   the NRA’s requests for books and records. The second narrative involves claims
                   that AMc was involved in a conspiracy and “coup” attempt against the NRA’s
                   Executive Vice President, Wayne LaPierre.

               x   Defendants believe that Mr. Brewer intentionally assisted the NRA and Mr.
                   LaPierre in manufacturing evidence to support the “records inspection” narrative
                   for the purpose of creating the false appearance of a breach of contract by AMc. 40
                   In support of these claims, Defendants offer the declaration of Revan McQueen,
                   the deposition testimony of Steve Hart, deposition testimony of Lt. Col. North,
                   deposition testimony of John Frazer, and the evidence of Susan Dillon’s temporary
                   employment with the outside auditing firm. 41 Defendants’ believe this conduct
                   further constitutes fraud and defamation, which are two of AMc’s counterclaims in
                   this lawsuit. 42

               x   Defendants believe that Mr. Brewer and Mr. LaPierre’s Chief of Staff, Joshua
                   Powell, intentionally manufactured evidence to support the “coup” narrative, and
                   funneled this evidence to the media, in order to harm and discredit AMc while
                   giving the NRA an advantage in the “court” of public opinion. 43 In support of these
                   claims, Defendants offer correspondence between Lt. Col. Oliver North and other
                   NRA executives, deposition testimony of Lt. Col. Oliver North, deposition
                   testimony of Steve Hart, Millie Hallow, Carolyn Meadows, a letter from Mr.
                   LaPierre to the NRA Board of Directors, and a news article discussing the same
                   issue the next day. 44 Defendants also believe this conduct constitutes defamation.45
                   Plaintiff’s Response does not refute or deny these claims.

                                                  Discussion

         24.       I begin my analysis of these facts with the entrenched Texas case law that

 “[d]isqualification of a party’s counsel is a severe remedy.” In re Nitla S.A. de C.V., 92 S.W.3d



 39
    Id. at Appx. A.
 40
    Motion to Disqualify at ¶¶ 43, 47.
 41
    Declaration of Revan McQueen at ¶ 21-29; Motion to Disqualify at ¶ 15, 26; Steve Hart Depo. at pp. 230:2-
 232:18; ECF 81 at Ex. A-6 (John Frazer Depo.) at pp. 251:10-257:8, 260:9-19; Oliver North Depo. at pp. 36:12-
 37:17, 40:18-42:25, 43:25-47:6, 102:14-103:19, 197:14-202:4.
 42
    Motion to Disqualify at ¶
 43
    Motion to Disqualify at ¶¶ 16-19, 43, 50.
 44
    Oliver North Depo at pp. 169:10-170:7, 180:22-182:4; Ex. A-16, Correspondence from Col. Oliver North to
 Wayne LaPierre, dated March 31, 2019; Ex. A-21, Memorandum From Col. Oliver North to the NRA Audit
 Committee, dated March 22, 2019; Ex. A-22, Correspondence from Col. Oliver North to John Frazer and Charles
 Cotton, dated April 18, 2019; Steve Hart Depo at pp.395:11-17; Steve Hart Depo at pp.395:11-17; ECF 81 at Ex. A-
 33 (Millie Hallow Depo.) at pp. 183:1-10, 189:2-9, 202:6-9, 205:19-208:19; Ex. A-28 (Carolyn Meadows Depo.) at
 pp. 182:4-183:1.
 45
    Motion to Disqualify at ¶¶ 43, 50.



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 419, 422 (Tex. 2002) (orig. proceeding) (per curiam). “It can result in immediate and palpable

 harm, disrupt trial court proceedings, and deprive a party of the right to have counsel of choice.”

 Id. “Disqualification can delay proceedings in the trial court, require the client to engage a

 successor attorney, and, in appropriate cases, deprive the client of work product done on his behalf

 by the disqualified attorney.” In re Tex. Windstorm Ins. Ass’n, 417 S.W.3d 119, 129 (Tex. App.—

 Houston [1st Dist.] 2013, orig. proceeding). “Because of the serious consequences of

 disqualification of opposing counsel, such motions can be misused for delay or to exert

 inappropriate leverage to force a settlement.” Id. “The law strongly discourages the use of motions

 to disqualify as tactical weapons in litigation.” Id. As a result, disqualification principles should

 be applied with “caution” by the presiding court. See, e.g., Tex. Disc. R. Prof. Conduct 1.06,

 cmt. 17; Grosser-Samuels v. Jacquelin Designs Enters., Inc., 448 F. Supp. 2d 772, 780 (N.D. Tex.

 2006).

          25.   With these restrictive principles in mind, however, a lawyer has a “special

 responsibility” to the quality of justice and has a professional duty to “maintain the highest standards

 of ethical conduct.” ABA Model R. Prof. Conduct (Model R.), Preamble ¶ 1 Tex. Disc. R. Prof.

 Conduct (Tex. R.) Preamble ¶ 1. Under these governing professional standards, a lawyer’s conduct

 “should conform to the requirements of the law,” not only in representing his clients, but also in his

 “business and personal affairs.” Tex. R. Preamble at ¶ 4; Model R. Preamble at ¶ 5. A lawyer should

 use the law’s procedures only for “legitimate purposes” and never to “harass or intimidate others.”

 Model R. Preamble at ¶ 5; Tex. R. Preamble ¶ 4. As such, the bounds of “zealous advocacy” are

 necessarily limited by a lawyer’s obligation to maintain “honest dealings with others” and a

 “professional, courteous, and civil attitude toward all persons involved in the legal system.” Model

 R. Preamble at ¶ 2, 9; Tex. R. Preamble at ¶ 2.




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        26.       Both the Texas Rules and the ABA Model Rules make clear that they are simply a

 “framework” for supporting the “many difficult issues of professional discretion” that may arise in

 the legal profession. Model R. Preamble at ¶ 9; Tex. R. Preamble at ¶ 7. Accordingly, the rules do

 not purport to “exhaust the moral and ethical considerations that should inform a lawyer.” Model R.

 Preamble at ¶ 16; Tex. R. Preamble at ¶ 11. In my experience, ethical issues often arise for which

 there are no prescribed rules or guidelines but which must be addressed by the conscience of the

 lawyer, the court, and the legal community in the best interest of society. See Model R. Preamble at

 ¶ 7; Tex. R. Preamble at ¶ 9. The Northern District of Texas, in particular, has long been a champion

 of “honesty and fair play,” through the important notion that lawyers owe an “unswerving duty” “to

 the public they serve and to the system of justice in which they practice.” See Dondi Props. Corp.

 v. Commerce Sav. & Loan Assoc., 121 F.R.D. 284, 288 (N.D. Tex. 1988).

        27.       With these guiding principles in mind, I turn to the prevailing approach to

 disqualification in the Fifth Circuit, which affirmatively imposes upon the district court the “duty

 and responsibility of supervising the conduct of attorneys who appear before it.” In re Am. Airlines,

 Inc., 972 F.2d 605, 611 (5th Cir. 1992).

        28.      Curiously, neither Mr. McCormack nor Ms. Moore state or rely upon the Fifth Circuit

 standard. However, I agree with Mr. Flamm, who states in his Declaration:

              In light of the extreme nature of the disqualification remedy, as well as the fact
              that disqualification motions are often interposed for strategic purposes, the Fifth
              Circuit has made it clear that an “inflexible application of a professional rule is
              inappropriate” [FDIC v. U.S. Fire Ins. Co., 50 F.3d 1304, 1314 (5th Cir. 1995)];
              and that the “rule of disqualification is not mechanically applied in this
              Circuit.” Johnston v. Harris County Flood Control Dist., 869 F.2d 1565, 1569
              (5th Cir. 1989); Church of Scientology of California v. McLean, 615 F.2d 691,
              693 (5th Cir. 1980); Leleux-Thubron v. Iberia Parish, 2015 U.S. Dist. LEXIS
              8020, at *10 (W.D. La. Jan. 23, 2015) (“The rule of disqualification is not
              mechanically applied in the Fifth Circuit”); OneBeacon Ins. Co. v. T. Wade Welch




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               & Assocs., 2012 U.S. Dist. LEXIS 14663, 9 (S.D. Tex. 2012) (“In [this circuit],
               courts ‘do not mechanically apply the rules of disqualification’”). 46

 Mr. Flamm also correctly describes the fact-intensive inquiry courts must undergo, which requires:

               a thoughtful and careful – if not “painstaking” – weighing of all of the relevant
               facts and circumstances in order to assess, on a case by case basis whether
               disqualification would be a necessary and appropriate remedy for that violation.47

 See also In re ProEducation Int’l, Inc., 587 F.3d 296, 300 (5th Cir. 2009). In addition to this

 “painstaking” factual analysis, the court must also balance the public interests at stake with the rights

 of the litigants. See id.       Although the Fifth Circuit cautions against imposing disqualification

 “cavalierly,” (see id.) I am of the opinion that certainly the opposite must also be true—that the

 decision not to disqualify must not be made “cavalierly” either.

         29.      I have read and am familiar with the opinions and conclusions of Mr. Flamm, Mr.

 McCormack, and Ms. Moore. Although it is my opinion that Mr. Flamm has rightly announced the

 legal standard, I do not believe that Mr. Flamm, Mr. McCormack, or Ms. Moore actually performed

 the type of “painstaking” factual analysis contemplated by the Fifth Circuit. Instead, I am of the

 opinion that each of my colleagues has engaged in the opposite: a “mechanical” application of the

 rules using only a limited set of applicable facts viewed in the light most favorable to the Plaintiff.

 This not only represents an incorrect application of the law, but reveals a level of advocacy that is

 incongruous with the role of an expert witness in this proceeding. See Estate of Sowell v. United

 States, 198 F.3d 169, 171 (5th Cir. 1999); Askanase v. Fatjo, 130 F.3d 657, 672-73 (5th Cir. 1997).

 A. Conflicts of Interest – Texas Rule 1.06(b), ABA Model Rule 1.7

         30.      First, regarding Defendants’ claim that Mr. Brewer and, by extension, the Brewer

 Firm should be disqualified due to Mr. Brewer’s conflict of interest, I believe that there are simply


 46
   Declaration of Richard E. Flamm at ¶ 88 (emphasis added).
 47
   Id. at. ¶ 90 (citing Duncan v.Merrill Lynch, Pierce, Fenner & Smith, Inc., 646 F.2d 1020, 1021 (5th Cir. 1981)
 (emphasis added).



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 too many intermediary issues of fact and law that must be determined in order to form an opinion

 regarding whether a conflict exists here. Additionally, because I believe Mr. McCormack, Mr.

 Flamm, and Ms. Moore have engaged in advocacy by opining on these intermediary issues, I do not

 believe that their conclusions have the proper foundation required for expert testimony.

 Standing

        31.     As stated above, I do not provide an opinion herein on whether Defendants have

 standing to bring a motion to disqualify against Mr. Brewer and the Brewer Firm. That is for the

 judge to decide. However, I do not believe that Mr. McCormack, Mr. Flamm, or Ms. Moore have

 correctly or comprehensively stated the law, nor do I believe that it is possible or appropriate for any

 of my colleagues to conclusively opine that Defendants have “no standing” to bring this motion.

 Again, each of these declarants has stated the law in the light most favorable to Plaintiff’s position

 while omitting law that would be favorable to Defendants, which is advocacy.

        32.     For example, Mr. Flamm and Ms. Moore (perhaps because they are not licensed in

 Texas and thus have no greater knowledge of the Texas disciplinary rules than any other attorney

 conducting legal research) do not cite the comment applicable to this situation, Texas Rule 1.06,

 Comment 17. This Comment states that although “raising questions of conflict of interest is

 primarily the responsibility of the lawyer undertaking the representation,” a court may nevertheless

 address the issue sua sponte when “there is reason to infer that the lawyer has neglected the

 responsibility.” Tex. R. 1.06, cmt. 17. It goes on to state that “where the conflict is such as clearly

 to call in question the fair or efficient administration of justice, opposing counsel may properly raise

 the question.” Id.

        33.     Although Mr. McCormack does acknowledge this language from Comment 17, he

 concludes (without explanation) that only Mr. Brewer or the Brewer Firm have standing to raise the




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 conflict, and further concludes (without explanation) that this case presents no “exceptional

 circumstance” that might trigger the “fair or efficient administration of justice.” 48 It is my opinion

 that Mr. McCormack did not undertake a “painstaking” analysis to determine whether the specific

 facts and circumstances of this case might prevent, or have already prevented, “the fair or efficient

 administration of justice.”

            34.     Moreover, none of the Declarations point to the existing case law where a court has

 relied upon Comment 17 to confer standing on a party seeking to disqualify opposing counsel. See,

 e.g., In re Representation of Multiple Targets: Charles Roark, No. EP-06-CR-1369-FM, 2007 U.S.

 Dist. LEXIS 108561, at *25-26 (W.D. Tex. July 26, 2007) (“Comment 17 clearly gives [opposing

 counsel] standing to alert the Court to conflicts of interest and similarly authorizes the Court to act

 to remedy any such situation.”); In re C.G.H., No. 12-12-00433-CV, 2013 Tex. App. LEXIS 8202,

 at *6 (Tex. App.—Tyler July 3, 2013, no pet.) (“Comment 17 is clear. Opposing counsel has

 standing to seek disqualification, if a conflict which violates the rules exists and is sufficiently

 severe to call in question the fair or efficient administration of justice.”) (internal quotations

 omitted); In re Seven-O Corp., 289 S.W.3d 384, 389 (Tex. App.—Waco 2009, no pet.) (“Relators'

 counsel have standing to properly raise the question of [opposing counsel’s] role because it clearly

 calls into question the fair administration of justice.”)

            35.     Accordingly, at least one possible basis exists for conferring standing upon

 Defendants and, as such, it is improper for Mr. McCormack, Mr. Flamm, and Ms. Moore to declare

 definitively that Defendants have “no standing” to seek disqualification.

 Appearance of Conflict




 48
      ECF 122 at Ex. 47 (McCormack Declaration) at ¶ 20.



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            36.      Under Texas Rule 1.06(b), “a lawyer shall not represent a person if the representation

 of that person reasonably appears to be or become adversely limited by the lawyer’s or law firm’s

 responsibilities to another client or to a third person or by the lawyer’s or law firm’s own interests.”

 Tex. R. 1.06(b)(2). Fifth Circuit courts have clarified that bare “appearance” alone is usually not

 sufficient due to its subjectivity of the inquiry and therefore requires the moving party to show at

 least a “reasonable possibility that some identifiable impropriety actually occurred.” FDIC v. United

 States Fire Ins. Co., 50 F.3d 1304, 1316 (5th Cir. 1995); Woods v. Covington Cty. Bank, 537 F.2d

 804, 813 (5th Cir. 1976).

            37.      If the moving party meets this “reasonable possibility” standard, then the court must

 “balance the likelihood of public suspicion against a party’s right to counsel of choice.” FDIC, 50

 F.3d at 1314. In the Northern District of Texas, public suspicion has been held to occur when an

 attorney’s conduct would “invite skepticism of the legal system,” which is especially true in high

 profile cases where the public is already aware of the disqualification issue. See Hill v. Hunt, No.

 3:07-CV-02020-O, 2008 U.S. Dist. LEXIS 68925, at *52-53 (N.D. Tex. Sep. 4, 2008).

 Mr. Brewer’s Conflict of Interest

            38.      Defendants’ Motion to Disqualify identifies six factual categories which they believe

 constitute grounds for Mr. Brewer’s disqualification. 49

                     (1) Mr. Brewer manufactured conflicts and tension between the NRA and AMc to
                         interfere with the business relationship;
                     (2) Mr. Brewer and the Brewer Firm are direct business competitors with AMc in the
                         public-relations field;
                     (3) Mr. Brewer and Angus McQueen had a history of personal animosity that impairs
                         his representation of the NRA and prejudices Defendants;
                     (4) Mr. Brewer’s financial motives will cause him to draw out the lawsuit with AMc
                         longer than necessary;
                     (5) Mr. Brewer is suing his own family, which hampers Revan McQueen’s ability to
                         litigate this lawsuit as aggressively as he might otherwise;


 49
      Motion to Disqualify ¶¶ 38-43.



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                    (6) Mr. Brewer is a “principal actor and tortfeasor” in the NRA’s underlying
                        litigation against AMc.

            39.     For each category, Defendants have presented at least some evidence in support of

 their assertions, mostly in the form of deposition testimony. I do not provide any opinion regarding

 the credibility, sufficiency, or admissibility of this evidence.

            40.     Although Mr. McCormack, Mr. Flamm, and Ms. Moore each opine that no conflict

 exists, I believe these opinions are improper for two reasons. First, their conclusions rely upon too

 many factual assumptions and weighing of evidence reserved for the judge. Second, even if certain

 factual assumptions were allowable in this circumstance, the facts were not applied to the prevailing

 law in the Fifth Circuit, as discussed above, requiring an intensive analysis of all the facts and

 circumstances. Instead, each expert mechanically approached each of Defendants’ six categories,

 considering each allegation and supporting evidence inside a vacuum, as if no other facts or

 allegations existed. Essentially, they each applied a “sever-and-dispatch” approach that appears to

 be diametrically opposed to the proper approach requiring consideration of all circumstances

 together.

            41.     For example, in paragraph 22 of his declaration, Mr. McCormack concludes that

 there is no express conflict of interest when a law firm directly competes with an opposing litigant.

 While this may be true by itself, as it is within the hypothetical example he provides, it does not

 take into account all of the potential “facts and circumstances” involved in this particular case: the

 family relationship, the history of animosity, the personal business interests, among others.

 Likewise, Mr. McCormack opines that there is nothing explicitly conflicting about the fact that

 AMc’s CEO, Revan McQueen, must defend litigation brought by his own brother-in-law. 50 Again,

 in a vacuum where the family relationship was the only issue, this may be true. But Mr.


 50
      McCormack Declaration at ¶ 24.



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 McCormack fails to consider any evidence of the possible competition between the businesses, the

 history of animosity, the evidence in support of Defendants’ claims that Mr. Brewer tortiously

 participated in the events underlying this lawsuit, or the evidence in support of their claims that

 Mr. Brewer and his law firm are using their law licenses to carry out the competition. Mr.

 McCormack’s opinions do not consider the totality of the circumstances, or, in the alternative, they

 inherently imply that Mr. McCormack has made a judgment call on every piece of Defendants’

 evidence and deemed it irrelevant, either of which is improper.

            42.      Ms. Moore engages in a similar analysis, but using even fewer facts than Mr.

 McCormack. Citing nothing in support, Ms. Moore announces she will not consider certain

 evidence because it is “disputed,” and therefore “should not serve as the basis for

 disqualification.” 51 I am not aware of this particular standard and am of the opinion that the judge

 may resolve any such “disputes” sitting as fact-finder for purposes of this proceeding. But relying

 on this unsupported proposition and Plaintiff’s declarations, Ms. Moore ignores Defendants’

 claims and evidence offered in support of Mr. Brewer’s tortious interference with AMc’s contract,

 his financial motives, and his other possible tortious conduct, including fraud and defamation. She,

 too, analyzes each of the allegations in isolation—the “sever-and-dispatch” approach—rather than

 in the context of all of the others.

            43.      Mr. Flamm attempts to analyze Defendants’ evidence to some degree. But even

 then, his analysis reflects only a granular view of the few items of evidence he selects. 52 I confess

 that I do not understand Mr. Flamm’s reasoning for the evidence he chose to analyze, however, as

 he did not appear to examine any of the evidence Defendants’ presented on pages 17–18, which

 sets out Defendants’ primary conflict-of-interest argument. Instead, Mr. Flamm engaged in a


 51
      ECF 122 at Ex. 50 (Moore Declaration) at ¶ 13.
 52
      ECF 22 at Ex. 51 (Flamm Declaration) at ¶¶ 44-55.



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 scattered examination of the word “conflict” used throughout the motion (everywhere except page

 17–18), his semantic disagreement with its use, a seemingly random selection of evidence, and

 various conjectures about what Defendants might have meant to prove with it.

         44.     In addition to the differences in their factual analyses, Mr. McCormack, Mr.

 Flamm, and Ms. Moore each engaged in similarly unique legal analyses, each relying upon

 different law in support of their propositions.

         45.     I say all this only to illustrate that the differences in the analyses undergone by Mr.

 McCormack, Mr. Flamm, and Ms. Moore underscore the larger problem with expert opinions on

 these topics. I do not believe that three different experts analyzing the law and facts three different

 ways can properly or realistically be viewed as reliable or helpful to the Court.

         46.     It is my opinion that the Court is obliged to consider each of Defendants’ six

 allegations of conflict, along with all evidence presented in Defendants’ Motion (not just the

 “undisputed” evidence), to properly undergo the rigorous factual analysis required for a motion to

 disqualify in the Fifth Circuit.

         47.     Regardless of the indifference with which Plaintiff, along with Mr. McCormack, Mr.

 Flamm, and Ms. Moore, seem to view the family relationship between Mr. Brewer and Mr.

 McQueen, it is no great stretch, perhaps within the realm of “judicial notice,” to imagine that the

 general public would have reason to be suspicious of Mr. Brewer’s continued representation of

 Plaintiff against his brother-in-law’s company. I also understand that this is a high-profile case and

 that the “public” receives regular updates about this case through the news media, websites, and

 podcasts.

         48.     In fact, it appears that such “public suspicion” has already arisen. On April 15, 2019,

 the Brewer Firm responded to public concerns in the New York Times about Mr. Brewer’s




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 relationship with the McQueen family immediately after filing its first lawsuit on April 12, 2019. In

 the article, Brewer Firm employee, Travis Carter, responded, “the familial relationship has no

 bearing whatsoever on the N.R.A.’s litigation strategy.”53

 B. Communication with Represented Persons – Texas Rule 4.02, Model Rule 4.2

         49.       Regarding the issue of whether Mr. Brewer and the Brewer Firm violated the rule

 against communicating with a represented party, it is my opinion that Mr. McCormack, Mr.

 Flamm, and Ms. Moore each engaged in an improper analysis of the weight and admissibility of

 the evidence in reaching their conclusions. Because these conclusions are within the judge’s

 province, I do not believe that an expert may properly provide expert opinion testimony on the

 ultimate issue.

         50.       As Mr. Flamm states: “The charge that a lawyer has violated the ‘unauthorized

 communications’ rule is a serious one . . . .” I agree.           But I disagree with his subsequent

 proposition that, in light of the seriousness of the allegation, that a motion to disqualify must

 include a “detailed discussion of relevant case law.” 54 In a situation where a party presents

 evidence in support of a violation of the letter of a rule, I know of no requirement (and Mr. Flamm

 points to none) to produce additional supporting case law simply for good measure.

         51.       Mr. McCormack, Mr. Flamm, and Ms. Moore each make several speculations (all

 in the Plaintiff’s favor) about Mr. McQueen’s reasons for making the declaration, the reasons for

 its timing, and the reasons for the omission of the names of his family members, each concluding

 that the declaration itself is “inadmissible” due to some type of fatal lack of detail.55 But if

 speculating were allowed, I could certainly come up with alternative reasons why Mr. McQueen’s


 53
    Motion to Disqualify at Appx A. (Danny Hakim, NRA Sues Contractor Behind NRATV, New York Times, Apr. 15,
 2019).
 54
    Flamm Declaration at ¶ 68.
 55
    McCormack Declaration at ¶ 27; Flamm Declaration at ¶ 68-72; Moore Declaration at ¶ 26.



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 declaration may be lacking certain details, such as a concern for the anonymity of innocent family

 members in a public filing, and would further argue that a lack of detail simply goes to the

 credibility of the evidence, not the admissibility. These alternative theories of fact and law simply

 go to show the particular susceptibility of evidentiary issues to advocacy, and thus, why expert

 witnesses should not be permitted to testify regarding the credibility or admissibility of evidence.

            52.      Whatever weight the judge accords it, the evidence offered in support of this

 allegation comes from the declaration of Revan McQueen, who states that, on at least two

 occasions, Mr. Brewer passed messages to Mr. McQueen through members of their joint family:

 once to threaten indictment, once instructing him to “break privilege” and talk to Mr. Brewer about

 the case. 56 This is a serious allegation.

            53.      Notwithstanding the musings of Mr. McCormack, Mr. Flamm, and Ms. Moore, I

 note that Plaintiff’s Response does not attempt to deny the substance of these allegations but, like

 its experts, opts only to attack the admissibility of the declaration. Of course, Mr. Brewer himself

 could have offered his own declaration to expressly deny this allegation; for whatever reason, he

 declined to do so.

 C. Respect for Rights of Third Persons – Texas Rule 4.04(b)

            54.      As noted above, Defendants have also accused Mr. Brewer of another serious

 violation, threatening Angus and Revan McQueen with indictment on two separate occasions. 57 If

 true, this could constitute a violation of Texas Rule 4.04(b) which prohibits a lawyer from threatening

 “criminal or disciplinary charges solely to gain an advantage in a civil matter.”




 56
      Declaration of Revan McQueen at ¶ 31, 36.
 57
      Motion to Disqualify at ¶ 22; Declaration of Revan McQueen at ¶¶ 23, 31.



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         55.     Again, I note that Plaintiff did not deny or refute these allegations. Likewise, neither

 Mr. McCormack nor Ms. Moore addressed this issue. Only Mr. Flamm stated that he believed that

 Defendants had “not even alleged” a violation. 58 Mr. Flamm is incorrect.

         56.     Paragraph 22 of Defendants’ Motion to Disqualify states: “After ramping up his

 “investigation” efforts, Mr. Brewer sent a message through LaPierre threatening to have A.

 McQueen and R. McQueen indicted by the Department of Justice for unidentified improprieties

 related to their work for the NRA.” Then again, at paragraph 30: “Plus, Mr. Brewer has repeatedly

 used fear to incite the McQueen family, including threatening indictment of A. McQueen and R.

 McQueen and accusing AMc of having leaks in its accounting department, all intentionally

 communicated through members of the McQueen family.” Both of these allegations are supported

 by the Declaration of Revan McQueen. 59

         57.     Mr. Flamm also states that Defendants “did not cite any legal authority” that

 disqualification would be “an appropriate remedy” even if a violation did occur. 60 Again, Mr.

 Flamm is incorrect.

         58.     The seminal case addressing this issue, which Defendants cite in paragraph 34 of

 their Motion, is In re American Airlines, recognizing that “[a] motion to disqualify counsel is the

 proper method for a party-litigant to bring the issues of conflict of interest or breach of ethical

 duties to the attention of the court.” 972 F.2d 605, 611 (5th Cir. 1992) (emphasis added). Although

 Mr. Flamm selectively cites American Airlines for other propositions more favorable to Plaintiff,

 he ignored this overarching principle, which establishes that all forms of unethical conduct may




 58
    Flamm Declaration at ¶ 75.
 59
    Declaration of Revan McQueen ¶¶ 23, 31.
 60
    Flamm Declaration at ¶ 75.



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 be properly addressed in a motion to disqualify in the Fifth Circuit. Id.; see also Musicus v.

 Westinghouse Elec. Corp., 621 F.2d 742, 744 (5th Cir. 1980).

         59.       Thus, while I do not make any affirmative legal or factual conclusions regarding the

 disqualification of Mr. Brewer, I disagree with Mr. Flamm, and believe that Defendants have

 presented both facts and law that the judge may properly consider in undergoing its analysis of the

 facts of this case.

 D. Trial Publicity – Texas Rule 3.07, Model Rule 3.6

         60.       Defendants next accuse Mr. Brewer of engaging in improper methods of trial

 publicity for the purpose of “materially prejudicing” this litigation against AMc under Model Rule

 3.6 and Texas Rule 3.07. 61 Mr. McCormack does not address this issue in his declaration. Mr.

 Flamm and Ms. Moore both seem to be under the impression that Defendants did not cite to any

 “extra judicial” statements in their Motion to Disqualify. 62 Both Mr. Flamm and Ms. Moore seem

 to have overlooked Defendants’ Appendix A, 63 which is a compilation of news articles containing

 various “extra judicial” statements by Mr. Brewer and other members of the Brewer Firm in news

 articles, at least sixteen of which comment directly upon the NRA’s litigation with AMc. None of

 these articles are commenting upon COVID-19 or Thomas the Tank Engine NRATV episode, topics

 which seem to dominate Mr. Flamm and Ms. Moore’s analyses due to their mutual oversight of

 Appendix A. As a result, I believe that my colleagues’ opinions will be particularly confusing and

 unhelpful for the Court on this topic.

         61.       In these media statements, Mr. Brewer makes comments about AMc, such as:

         -     “It’s stunning that a trusted partner for all these years is just refusing to cooperate.”



 61
    Motion to Disqualify at ¶¶ 58-59.
 62
    Flamm Declaration at ¶¶ 77-82; Moore Declaration ¶¶ 29-32.
 63
    Motion to Disqualify at ¶ 58 n.147, Appx A.



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         -     “The lawsuit is without merit—a misguided attempt to deflect attention from Ackerman
               McQueen’s numerous failures to comply with its obligations.”

         -     “Ackerman’s claims against the NRA emerged after, and only after, the NRA sought to
               compel the agency to provide documents and billing records relating to its services.”

         -     “It’s not surprising that Ackerman now attempts to escape the consequences of its own
               conduct.”

         -     “When confronted with inquiries about its services and billing records, Ackerman not
               only failed to cooperate—it sponsored a failed coup attempt to unseat Wayne LaPierre.”64

         62.      The crux of Defendants’ argument is not only that these statements were made in the

 media, but that the allegations contained within them were false, and that these false allegations were

 purposefully manufactured by Mr. Brewer and the Brewer Firm. In support of these claims that Mr.

 Brewer falsely manufactured evidence, Defendants point to certain evidence. First, regarding the

 statement that AMc “failed to cooperate” with records inquiries, Defendants present:

         -     the Declaration of Revan McQueen, in which discusses AMc’s compliance efforts with
               each of the three audits the NRA conducted over a period of six months 65;

         -     testimony from Steve Hart, stating that Mr. Brewer’s document requests were
               unreasonable and designed to draw noncompliance, or documents they knew AMc would
               not have in its possession 66;

         -     correspondence between Mr. Brewer and Defendants and their counsel, and
               correspondence between the NRA and AMc, regarding the NRA’s document requests
               and explanations that the documents are already in the NRA’s possession; 67

         -     testimony that the NRA was already in possession of the contract of Oliver North at the
               time it filed suit against AMc. The lawsuit claimed Lt. Col. North’s contract was still
               being withheld 68;

         -     the curious appearance of Brewer Firm employee, Susan Dillon, at the auditing firm
               Forensic Risk Alliance (FRA) that audited AMc in February 2019. 69 Ms. Dillon’s
               presence at FRA was not known to AMc, who had been told the audit would be

 64
    Motion to Disqualify at Appx. A.
 65
    Declaration of Revan McQueen at ¶ 21-29.
 66
    Motion to Disqualify at ¶ 15; Steve Hart Depo. at pp. 230:2-232:18, 304:18-306:12
 67
    Motion to Disqualify at ¶ 10 n. 61 (citing multiple exhibits).
 68
    John Frazer Depo. at pp. 251:10-257:8, 260:9-19; Oliver North Depo. at pp. 36:12-37:17, 40:18-42:25, 43:25-
 47:6, 102:14-103:19, 197:14-202:4.
 69
    Motion to Disqualify at ¶ 26.



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               “independent.” 70 AMc appears to believe that Ms. Dillon was sent to the auditing firm
               as something of a spy and a proxy for the Brewer Firm. Ms. Dillon has since resumed
               her employment with the Brewer Firm. 71 Plaintiff does not deny any of the allegations
               about Ms. Dillon; and

         -     communications showing that the Brewer Firm appears to have been retained specifically
               for the purpose of terminating contracts with certain “key corporate relationships.” 72

         63.      Second, with regard to Defendants’ claim that AMc “sponsored a failed coup

 attempt” against Wayne LaPierre, Defendants offer the following evidence:

         -     testimony and correspondence describing former NRA President, Oliver North’s,
               unsuccessful efforts to investigate the Brewer Firm’s invoices 73;

         -     testimony of Mr. Hart regarding certain contrivances he perceived in the “coup”
               narrative 74;

         -     testimony of Mr. LaPierre’s assistant, Millie Hallow, and current NRA President, Carolyn
               Meadows, suggesting that Col. North was not acting on AMc’s behalf 75;

         -     additional testimony from Ms. Hallow that someone from the Brewer Firm came to
               collect her notes from the call with Lt. Col. North 76;

         -     additional testimony from Ms. Hallow who was presented with a letter to sign describing
               the “coup” narrative, which she said she was uncomfortable signing because it did not
               reflect her recollection of events 77;

         -     evidence that Ms. Hallow’s letter was turned into a letter from Mr. LaPierre to the NRA
               Board of Directors 78 (Defendants’ claim that Mr. Brewer wrote this letter, which
               Plaintiff’s Response does not deny 79); and

         -     an article showing that Mr. LaPierre’s letter ended up in the news the very next day. 80


 70
    Id.; Declaration of Revan McQueen at ¶ 29.
 71
    Motion to Disqualify at ¶ 26; https://www.brewerattorneys.com/susan-dillon.
 72
    Amended Counterclaim at ¶ 56.
 73
    Motion to Disqualify at ¶¶ 9-12 (including evidence cited at nn.24-37).
 74
    Steve Hart Depo at pp.395:11-17.
 75
    ECF 81 at Ex. A-33 (Millie Hallow Depo.) at pp. 183:1-10, 202:6-9, 207:8-13; Ex. A-28 (Carolyn Meadows
 Depo.) at pp. 182:4-183:1.
 76
    Millie Hallow Depo. at pp. 189
 77
    Millie Hallow Depo. at pp. 205:19-208:19.
 78
    ECF 81 at Ex. A-32, Correspondence dated April 25, 2019 from Wayne LaPierre to Members of the NRA Board;
 Ex. A-33 at 189:2-9
 79
    Motion to Disqualify at ¶ 50.
 80
    ECF 80 at Ex. A-36, Mark Maremont, NRA’s Wayne LaPierre Says He Is Being Extorted, Pressured to Resign,
 Wall Street Journal (April 26, 2019).



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         64.     In support of their entire trial-publicity claim, Defendants also offer two articles about

 or authored by Mr. Brewer, which appear to show his attitudes, professional philosophy, and modus

 operandi for the intentional use of trial publicity for strategic advantage and to influence public

 opinion. 81

         65.     I do not provide any opinions regarding the credibility, significance, or admissibility

 of any of the evidence described above. But I disagree with Mr. Flamm and Ms. Moore that AMc

 failed to “clearly identify any extrajudicial statement” or failed to produce evidence in support of

 this argument. 82 I also disagree with Mr. Flamm and Ms. Moore that AMc failed to produce any

 case law providing for disqualification as a remedy for a breach of trial-publicity rules. 83 As already

 stated, Defendants’ cited Fifth Circuit case, In re American Airlines, provides disqualification as a

 remedy for any ethical breach by opposing counsel.84 See 972 F.2d at 611.

 E. Respect for the Rights of Third Parties – Texas Rule 4.04(a), Model Rule 4.4(a)

         66.     As both the Model Rules and the Texas Rules identically state: “In representing a

 client, a lawyer shall not use means that have no substantial purpose other than to embarrass, delay,

 or burden a third person . . . .” Model Rule 4.4(a), Tex. R. 4.04(a).

         67.     In Defendants’ Motion, they claim that Mr. Brewer and the Brewer Firm took a

 series of actions during 2018 and 2019, which appear to have correlated with certain life events of

 the McQueen Family, which Mr. Brewer would have known by virtue of his personal relationship

 with the McQueens. 85 Defendants believe these events were not accidental but strategically timed

 with the intention of inflicting emotional distress on the McQueen family and thereby influencing


 81
    ECF 80 at Ex. A-7, William A. Brewer III, Advocacy as Art: Lawyers Must Engage in Issues and Crisis
 Management, Texas Lawyer (May 6, 2019); Ex A-60, Mark Donald, Rambo Justice, Dallas Observer (March 19,
 1998).
 82
    See Flamm Declaration at ¶¶ 77-82; Moore Declaration at ¶¶ 28-32.
 83
    See Flamm Declaration at ¶ 82; Moore Declaration at ¶ 32.
 84
    Motion to Disqualify at ¶¶ 20-30.
 85
    Declaration of Revan McQueen ¶¶ 14-35.



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 the litigation. 86 I note that Plaintiff’s Response does not substantively deny or refute these claims.

 This issue is also not addressed in any of the supporting declarations or other exhibits offered with

 Plaintiff’s Response.

         68.      In support of these claims Defendants also provide articles about Mr. Brewer’s

 litigation style and philosophy, which describe his tactics as “Rambo justice,” “scorched earth,” and

 “hardball.” 87

         69.      It is my opinion that these allegations are very serious and, if true, represent a threat

 to the public perception of the legal system and the integrity of the legal profession. Mr. McCormack,

 Mr. Flamm, and Ms. Moore each opine that the familial relationship and acknowledged “animus”

 pose no conflict or ethical problem whatsoever. Mr. Flamm even suggests that such animus is a good

 thing: “if anything it would cause [Mr. Brewer] to punch harder.” 88 But in consideration of the

 broader societal interests that the rules of professional responsibility espouse, is a harder “punch”

 really what zealous advocacy requires (or should allow) in this situation? Is there a chance that the

 self-proclaimed “scorched-earth” lawyer may “punch” even one bit harder than would be acceptable

 under guiding principles of civility, honesty, and fair play that lawyers should aspire to? Is there a

 chance that innocent members of the McQueen and Brewer families will be harmed as collateral

 damage in this lawsuit? Is there a “reasonable possibility” that any of these things have already

 occurred? Mr. Flamm does not consider any of these issues and merely assumes that “harder” must

 be better. From a fundamental ethical standpoint, this makes no sense to me.




 86
   Motion to Disqualify at ¶¶ 20-30; Declaration of Revan McQueen.
 87
   ECF 80 at Ex. A-7, William A. Brewer III, Advocacy as Art: Lawyers Must Engage in Issues and Crisis
 Management, Texas Lawyer (May 6, 2019); Ex A-60, Mark Donald, Rambo Justice, Dallas Observer (March 19,
 1998).
 88




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         70.       I do not give any opinions regarding the weight of the evidence on this issue.

 However, I would again urge the Court to conduct the rigorous, fact-intensive inquiry to determine

 whether there is a “reasonable possibility” that an ethical impropriety has occurred in this proceeding

 and, if so, determine whether the societal interests outweigh the NRA’s right to maintain Mr. Brewer

 as its counsel.

         71.       I reserve the right to amend, supplement, or withdraw any of my opinions based upon

 additional information I may acquire or otherwise. I reserve the right to form additional opinions.

         I declare under penalty of perjury and in accordance with 28 U.S.C. § 1746 that the

 foregoing is true and correct.



         Executed this 3rd day of June, 2020.


                                                 Coyt Randal Johnston




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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

   NATIONAL RIFLE ASSOCIATION OF                   §
   AMERICA,                                        §
                                                   §
              Plaintiff and Counter-Defendant      §
                                                   §
   and                                             §
                                                   §
   WAYNE LAPIERRE,                                 §
                                                   § Civil Action No. 3:19-cv-02074-G
              Third-Party Defendant,               §
                                                   §
   v.                                              §
                                                   §
   ACKERMAN MCQUEEN, INC.,                         §
                                                   §
              Defendant and Counter-Plaintiff,     §
                                                   §
   MERCURY GROUP, INC., HENRY
                                                   §
   MARTIN, WILLIAM WINKLER,
                                                   §
   MELANIE MONTGOMERY, and JESSE
                                                   §
   GREENBERG,
                                                   §
                                                   §
              Defendants.
                                                   §

                              DECLARATION OF REVAN MCQUEEN

         Pursuant to 28 U.S.C. § 1746, I, Revan McQueen, hereby declare as follows:

         1.       My name is Revan McQueen. I am over the age of 18 years and of sound mind. I

 have never been convicted of a felony or a crime of moral turpitude. I am the Chief Executive

 Officer of Ackerman McQueen, Inc. (“AMc”). The facts stated herein are true and correct, and

 based on my personal knowledge in my capacity as CEO of AMc.

         2.       I have read the declarations the NRA submitted in support of its Response to

 Defendants’ Motion to Disqualify, which contain several false and misleading statements and

 which I address here.




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        3.      Craig Spray (“Spray”) and Wayne LaPierre (“LaPierre”) incorrectly described an

 October 11, 2018 meeting between me, Angus McQueen, Bill Winkler, Brandon Winkler, Melanie

 Montgomery, Tony Makris, Henry Martin, Lacey Cremer, Wayne LaPierre and Craig Spray in

 their declarations, respectively. The meeting is correctly described in detail by other AMc

 executives that were present, including the emotionally charged discussions surrounding the

 actions of William Brewer III (“Brewer”) and Josh Powell (“Powell”). However, I believe the

 most telling point of that meeting was LaPierre explaining to us how great AMc was at branding

 and communication strategy, including crisis communications and legislative response work that

 we performed for decades.

        4.      To further refute the revisionist history from LaPierre, I personally recall only two

 parts of the discussion that led to tension or anger. First was Brewer’s harassment of AMc,

 including his threatening communication. The discussions were also contentious surrounding

 Powell. Put simply, LaPierre and Spray were dismissing the very serious sexual harassment issues

 involving Josh Powell and an AMc female executive. Before that subject came up, Angus was

 clearly annoyed by a letter from Spray regarding the budget, but only because it was a complete

 departure from the decades of professional interaction between our two organizations, not because

 the budget was being cut. Spray admitted in the meeting that he did not write the letter that he

 supposedly signed and wanted us to know that he would not write such a disrespectful letter. This

 conversation started the meeting. We decided before the meeting that if LaPierre and Spray were

 unwilling to treat us with the respect that was built over decades of good work, that would be the

 final issue in a string of very unnerving issues that would end the relationship. However, at that

 time, LaPierre made it clear that we would no longer have to deal with Brewer, his firm, or Powell

 if we would just “stick with him.”




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        5.      What did not create any tension whatsoever during the October 11, 2018 meeting

 was the actual budget cutting process, which I personally led line item by line item. I specifically

 cut the out of pocket expenses, which I now understand to be the line item where LaPierre directed

 AMc to budget for certain items, allegedly related to his security and confidentiality, in order to

 hide from the accounting department (that I now understand he did not trust) among others at the

 NRA. I said I did not want any out of pocket items unrelated to the media work that we do to be

 in the budget at all. To this, Spray agreed and LaPierre said nothing. The new budget reflected this

 change.

        6.      The day after the October 11, 2018 meeting, LaPierre placed a call to me, which at

 no point was tense or argumentative. I remember this vividly because I was with Angus at a doctor

 visit at UT Southwestern regarding his cancer treatment. Angus had just received the news that

 surgery might still be an option in the battle to beat his cancer. LaPierre had three main agenda

 items for the call. He continued to plead with me and AMc to “stick with him.” He wanted to know

 how we could keep Dan Bongino as part of NRATV, which he understood would cost serious

 money despite the budget cuts from the day before. Lastly, he wanted to inquire about the audit. I

 reminded him that the Brewer Firm was not a trusted independent auditor and we would no longer

 deal with them, but made clear that we would welcome an audit from any big auditing firm or law

 firm that was not intent on threatening us or further damaging our relationship with the NRA.

 LaPierre acknowledged this and asked if it would be okay if Steve Hart reached out to set that up.

 He told me that the audit needed to happen because Brewer promised the NRA was going to get

 tens of millions of dollars from Lockton in a settlement and the audit was one of the last things

 that needed to happen in order to secure the settlement. This concerned me because it confirmed

 what we suspected: that the first audit conducted by the Brewer firm was nothing more than a




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 fishing expedition. We now know that, according to LaPierre, litigation against AMc was planned

 in August of 2018 and this fake audit conducted by the Brewer firm was the first attempt of many

 to set up AMc for the lawsuit the NRA was planning. It is clear to us now that no matter how much

 we complied, the Brewer Firm was the architect of an attack claiming that we were withholding

 documents when Susan Dillon, Beth Landes, and other members of the Brewer Firm, were

 personal witnesses to our compliance. Steve Hart ultimately coordinated the Cooper Kirk law firm

 audit of Carry Guard material, which after one full day of thorough review, concluded with zero

 issues or complaints.

        7.      What ensued over the next couple months were sporadic calls from LaPierre to me

 to discuss the budget. Most of these calls involved Spray, and on one occasion before putting me

 on speaker phone, LaPierre acknowledged that Powell was in the room and asked me if I wanted

 him [LaPierre] to “kick him [Powell] out.” This was a clear display that LaPierre was trying to

 honor the deal that he made at the October 11, 2018 meeting to extricate AMc from Powell and

 Brewer. During another call, LaPierre started talking about Brewer’s negative opinion of some of

 our work. When I responded suspiciously, LaPierre said, “Revan, everyone knows that Brewer is

 an asshole.”

        8.      The last call in 2018 that I can remember with LaPierre was where I informed both

 LaPierre and Spray that Bongino had rejected our offer. LaPierre responded, “That’s great!” which

 did not make sense because he was the one who approved it, as he did every single contractual

 obligation the agency made. All of these calls were odd only because before this brief period of

 time, he mainly called Angus, Tony or Nader. Before this time period, I only received one call

 from LaPierre, a memorable one because he had just gotten off of a plane that I could hear in the

 background and wanted to yell at me about how much he disagreed with a video Dom Raso created




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 to defend the Second Amendment rights of law-abiding citizens who were visually impaired. This

 was not the first time that LaPierre had to be reminded that the Second Amendment applied to

 ALL law-abiding citizens, not just those that fit his agenda.

        9.       I am aware that LaPierre made many more inaccurate statements in his declaration

 that was submitted in the Brewer Firm’s response to their own disqualification. One specific claim

 that needs to be addressed follows:

              Nonetheless, I became concerned and received numerous complaints that the
              public messaging AMc was crafting for the Association often struck the wrong
              tone. AMc was placing increasing emphasis on material that was unrelated to
              Second Amendment issues and often inflammatory. My concern became acute
              in connection with the messages coming across NRATV, which had been
              created with the intention of reaching a younger and more diverse audience.

        10.      LaPierre was the principal architect of the “inflammatory” rhetoric, which all came

 from his countless rants about issues in the country. It was LaPierre along with his direct mail

 vendor that wrote the line in a communication to members that referenced law enforcement as

 “jack-booted thugs.” It was LaPierre that said President Bill Clinton was “willing to tolerate a

 certain amount of killing” and that he [Clinton] had “blood on his hands.” It was LaPierre that

 said, among many inflammatory statements in his countless commercials, “No amount of

 bloodshed will ever satisfy the demons among us.” This is the man who proudly owns the line,

 “The only thing that stops a bad guy with a gun is a good guy with a gun,” which regardless of

 opinion on the accuracy of the sentiment, this is clearly an inflammatory statement. Because of the

 nature of live programming, NRATV talents and live hosts took ultimate responsibility for what

 came out of their mouths. AMc did not script any content without approval from every host.

 LaPierre knew the talents and live hosts had the autonomy to craft their own messages and at times

 made mistakes, like the offensive Thomas the Tank episode, which was directed to be created by

 Dana Loesch and her team and in which no AMc executive was involved. It is clear that many of



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 them, all whom had jobs directly approved and controlled by LaPierre, took their cues from

 LaPierre’s inflammatory public rhetoric.

        11.      Angus led AMc’s relationship with the NRA. He was a fierce believer in the

 constitution and believed in the protection of American freedom. Any implication that he, a man

 who was fifty-percent Hispanic, or AMc were anything other than the main drivers of a “more

 diverse” message is false. LaPierre was the one who routinely ignored, deflected and ultimately

 silenced the numerous diverse voices of NRATV. One clear example of this is a piece that Colion

 Noir produced regarding inner city issues. Noir consistently found the diverse voices of America

 and, with the Second Amendment as the common thread, addressed the very painful circumstances

 they endured.

        12.      In January 2019, LaPierre was in AMc’s Dallas office for the last in-person meeting

 I ever had with him. He refused to allow AMc to release the third part of Colion Noir’s piece on

 New York gun laws, despite his litigation about constitutional issues in that state and the issues

 within the Albany inner city. This was another decision by LaPierre to silence Noir for the last

 time I can remember. LaPierre personally kept Noir off of the CPAC stage, when we (AMc)

 wanted him to speak. LaPierre hesitated, most of the time denying our requests, when we would

 suggest Noir have a more public role for the organization. NRATV achieved its goal despite

 LaPierre’s attempts to crush the “younger” and “more diverse” voices. It is no coincidence that the

 NRATV host that is publicly rushing to the NRA’s defense is neither “younger” nor “more

 diverse” because that is the voice with which LaPierre seems to be comfortable. Colion Noir, Dana

 Loesch, Natalie Foster, Dom Raso, Chris Cheng and Julie Golob all reached audiences that

 LaPierre, to this day, would never be able to reach himself. I believe that the origin of this new

 critique of NRATV is Brewer, whom I know from multiple dinner table arguments is no fan of




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 NRA messaging. In fact, he was starting to seed this idea in LaPierre’s mind in the summer of

 2018.

         13.      During that same meeting in January, LaPierre again reminded us of Brewer’s

 influence over him and the NRA. LaPierre repeatedly told us that Brewer was the only one that

 could keep him out of jail, a sentiment LaPierre had shared to me or around me on other occasions.

 When repeatedly asked why he should be afraid of going to jail, LaPierre told us that we didn’t

 know what we didn’t know.

         14.      In a phone call from LaPierre to Angus, which I heard while Angus was receiving

 chemotherapy treatment, LaPierre told Angus that Brewer was criticizing his 2018 CPAC speech

 that AMc had scripted. According to LaPierre, Brewer said that it was being studied at NYU and

 Columbia journalism schools for alleged anti-Semitism. In the same January 2019 meeting,

 LaPierre finally showed us that Brewer seemed control his mouth, when he instructed us that

 Brewer and Travis Carter would be writing his CPAC speech, a speech similar to the one earlier

 this year where LaPierre gave a full-throated defense of the NRA’s legal fight in New York. It is

 surprising that LaPierre today is trying to distance himself from his own decades-long relationship

 with inflammatory rhetoric, given that he was constantly trying to get “more gasoline.” However,

 what is clear is that in order to attempt to raise money, his penchant for “inflammatory” rhetoric

 can still be heard in the NRA’s pleas for donations, the most recent example being their messaging

 regarding COVID-19.

         15.      One other statement that LaPierre made that needs to be addressed follows:

               Although I valued AMc for the creativity of its longtime CEO, Angus
               McQueen, AMc was not easy to work with and alienated many NRA staff,
               Board members and significant donors. Long before I met Bill Brewer, NRA
               executives, directors and others were increasingly strident in their complaints
               about AMc. For years, I regarded many of these as mere personality conflicts
               engendered by the abrasiveness of Angus McQueen.



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        16.      As recent as January 31, 2018, just a month and a half before Brewer was hired by

 the NRA, in an email where she, as she continues to do today, is “setting the record straight in Jeff

 Knox’s ‘opinion’ piece” addressed to “NRA Board Members and 2018 Candidates,” Marion

 Hammer wrote the following:

              In 1997, we had 2.5 million NRA members. Today, we still have most of the
              same vendors, and with Wayne leading the way, NRA membership numbers
              have doubled to 5 million. In 1997, NRA’s overall budget was around $120
              million and today it’s just under $480 million. Rather than a picture of non-
              producing vendors and financial ruin, I’d call that the continuing success of
              Wayne LaPierre’s leadership.

 It is clear that she was defending AMc along with LaPierre in this email. This is one of countless

 positive reviews of AMc’s work we received from executives, directors, donors and more. Today,

 I believe the only thing that has changed and could cause the shift in perspective by Hammer and

 others is the presence of what I understand now to be the NRA’s largest vendor, the Brewer Firm.

        17.      Brewer has strangely been in competition with AMc, specifically Angus, for as long

 as I have known him. This reference to Angus’s “abrasiveness” is clearly the latest example, the

 Stinchfield filing being another, of Brewer using a proxy to tarnish the legacy of his father-in-law.

 What is notably missing from the defense of the Brewer Firm here are the countless voices—

 Woody Phillips, Tyler Schropp, Sandy Froman, Susan Howard, countless donors and many

 more—who respected and vocally applauded the work of AMc and specifically, Angus, and who

 would not be able to fabricate a bunch of personal attacks to protect Brewer, who himself could

 not even submit a declaration to try to defend himself and the NRA.

        18.      I am aware the NRA made certain objections to my prior declaration, questioning

 the personal knowledge for the statements I made. I address many of those concerns below.

        19.      Paragraph 9:




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         I am also aware of Brewer voicing frequent professional criticisms about AMc’s
         work with the NRA. I don’t believe Brewer to be and certainly have not known him
         to be a supporter of the Second Amendment. Brewer, on more than one occasion,
         would pass judgment on the billing structure of AMc, saying the company could
         “make more money if it billed hourly.”

 Brewer would often challenge Angus to debate gun rights and politics, specifically after tragic

 shootings. Although I believe Brewer might own one or two firearms, I have never known him to

 shoot them aside from only a couple interesting occasions. Further, his documented contributions

 to some of the most well-known political adversaries of the NRA, including Barack Obama and

 Hillary Clinton, seems to explain the aggressive position from which he would debate gun issues

 with our family. The specific instance I refer to regarding “billing structure” was a call that I had

 with Brewer regarding work he was doing for 3M. He reached out to AMc wanting to see if we

 would help with communication strategy, similar to the work Mercury Group conducted on the

 Wylie case. He took issue with the pricing structure that we suggested, which was and continues

 to be fair-market value pricing. He wanted us to bill hourly. This is when he said AMc would

 “make more money if it billed hourly.” To that I responded, “Bill, we don’t bill that way and

 because of that, I don’t think you will ever be happy with the structure of this relationship.” He

 agreed and we never talked about the 3M potential project again. The proposal that AMc submitted

 for this work is attached.

         20.    Paragraph 11:

         I am also aware that Brewer has publicly held forth the theory that law firms are
         better suited than communication firms like AMc to perform public relations
         services for their clients, a theory he debated with me and Angus on numerous
         occasions. I am aware that Brewer has a public relations practice within his law
         firm in apparent accordance with that philosophy, a fact further confirmed by team
         members of the Brewer Firm that specialize in public relations.

 For instance, he published an article that clearly described this strategy after the NRA filed its first

 lawsuit against AMc.



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        21.       Paragraph 12, the italicized portion being subject to the NRA’s objections:

        The first time I became aware that Brewer had been hired by the NRA was in 2018
        when AMc started receiving PR emails from Travis Carter. John Frazer (“Frazer”)
        also informed AMc via email that Brewer had been retained to represent the NRA
        in a lawsuit against the Lockton Affinity Series of Lockton Affinity, LLC
        (“Lockton”) related to the NRA’s “Carry Guard” initiative and asked AMc to
        comply with any requests for information related to Carry Guard. Carry Guard was
        a short-lived program that offered training and insurance for the use of firearms in
        self-defense. It is my understanding that the insurance portion, which AMc had no
        part in structuring from a business standpoint, was ultimately found to be illegal in
        several states. AMc agreed to participate with Brewer’s investigation.

 I have personal knowledge about the lawsuit concerning Carry Guard because the lawsuit and

 filings are in the public record, and because the NRA has involved AMc in that lawsuit to a degree,

 including making reference to or factual statements about AMc in the lawsuit. I also have personal

 knowledge of AMc initially agreeing to participate with Brewer’s investigation because Angus, as

 AMc’s co-CEO at the time, was the one who directed AMc personnel to participate in that

 investigation.

        22.       Paragraph 13:

        Angus always directed everyone to comply with all formal directives from the NRA.
        Among many examples of cooperation and assistance, I am aware that Brewer was
        allowed to interview multiple AMc employees. During that interview, it is my
        understanding that he went into a targeted and unrelated (to Carry Guard) line of
        questioning about Angus specifically.

 For instance, Angus was always the first to tell everyone around him, including me, that our job

 was to comply with our contractual obligations. In fact, early on, he suspected that Brewer was

 trying to lay contract ‘breach’ traps for AMc. In the Services Agreement, it clearly gives the NRA

 the right to “examine” files, books, and records. Further, LaPierre was our sole designee unless he

 specifically designates someone else. LaPierre called Angus to talk about Brewer’s “audit” many

 times while I was in the room, and I would hear Angus specifically say that his intent was to

 cooperate with all requests for examination. Additionally, I have personal knowledge of Brewer



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 questioning AMc employees in May of 2018 about Angus, unrelated to Carry Guard, because it

 was reported to me by Lacey Cremer that Brewer oddly referenced “the grandkids [Brewer’s

 children],” and that Angus would talk to “the grandkids” about the work that AMc did for the

 Oklahoma City Thunder.

        23.     Paragraph 15:

        From that point on, as the Carry Guard investigation progressed, Brewer began
        taking actions and exhibiting behavior that appeared to be unrelated to Carry Guard
        and increasingly aggressive toward AMc. Wayne LaPierre (“LaPierre”) informed
        Angus that Brewer had criticized AMc’s speechwriting services with regard to a
        speech LaPierre directed, as was standard practice, AMc to write for Conservative
        Political Action Conference earlier that year.

 As an example of Brewer’s aggressive behavior, I witnessed Brewer’s communication broaden

 and become increasingly hostile. As for the speechwriting services, I was present when LaPierre

 made the statement to Angus that I referenced earlier about Brewer’s criticism of the 2018 CPAC

 speech as anti-Semitic.

        24.     Paragraph 17:

        Brewer’s interference with AMc’s NRA-related business increased significantly
        after Angus became ill. On July 2, 2018, Brewer sent an email on behalf of the
        NRA to AMc’s attorney seeking additional documents and claiming that certain
        documents had been withheld from previous NRA requests for productions.

 I have personal knowledge that Brewer’s interference increased significantly after Angus became

 seriously ill with terminal cancer. For instance, he started to ask for many items unrelated to his

 work on the Lockton litigation and I started to hear that he was claiming we were not cooperating

 on the document requests in the Lockton litigation, which was ultimately refuted when the Cooper

 Kirk law firm successfully conducted its audit of the Carry Guard material and settlement with

 Lockton was ultimately reached.

        25.     Paragraph 18:




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        In July 2018, Brewer, on behalf of the NRA, filed an Amended Complaint in the
        lawsuit against Governor Andrew Cuomo and others in the Northern District of
        New York: NRA v. Cuomo, et al., Case No: 18-cv-00566, United States District
        Court for the Northern District of New York. In the Amended Complaint, false
        statements were made regarding NRATV and its alleged difficulty in securing
        media liability coverage. In response, AMc’s counsel wrote a letter to Brewer dated
        August 7, 2018 outlining the specific false statements made in the Amended
        Complaint and requesting that Brewer and the NRA take the appropriate steps to
        correct the misstatements.

 I have personal knowledge, not just opinion, about the falsity of the information in the Cuomo

 lawsuit about media liability coverage for NRATV. Specifically, the NRA alleged that NRATV

 insurance coverage was being put in jeopardy. In reality, we received no indication from our

 insurance carrier that the insurance that we carried for NRATV was in fact, jeopardized. I have

 knowledge of the publicly filed Cuomo lawsuit because the filings are part of the public record, of

 which I have to be aware as CEO of AMc when the lawsuit includes allegations about my

 company. Additionally, I have personal knowledge about the letter my company’s lawyer sent to

 Brewer.

        26.     Paragraph 19:

        Then, on August 8, 2018, AMc received a letter from NRA Treasurer Woody
        Phillips (“Phillips”) demanding unrestricted access to all of AMc’s books and
        records—which appeared to be far beyond the scope of the Carry Guard
        investigation. An AMc representative then contacted Phillips to ask about the
        letter. During the telephone call, Phillips confirmed that Brewer drafted the letter
        and that it was put in front of him to execute.

 I have personal knowledge about the requests exceeding the scope of the Carry Guard investigation

 because I read the letters from the Brewer Firm to know what was being requested from my

 company. For instance, the very first communication (March 28, 2018) about any document

 requests involving Brewer concerned the New York State Department of Financial Services’

 inquiries into Carry Guard. I have personal knowledge of this letter because I read it.




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        27.     Brewer then communicated with AMc’s counsel requesting various information for

 that Carry Guard investigation. He sent another email on May 4, 2018 asking for additional

 information, to which AMc’s counsel responded in compliance, including offering individual

 employees for interviews. Brewer sent another email on July 2, 2018 asking for yet more

 information, all “in connection with” or “associated with the NRA insurance programs” (Carry

 Guard). AMc’s counsel responded, providing the additional requested materials and noting that

 Powell also already has all the other previously requested—and provided—documents. Brewer

 emailed again on July 26, 2018 following up on certain requests, including back-up documentation

 for invoices relating to Carry Guard.

        28.     Then, on August 8, 2018, AMc received a letter from the NRA seeking to review

 AMc’s “files, books, and records” “[t]o inform the NRA’s legal strategy—including with respect

 to common legal interests which [the NRA] share[s] with AMc.” That same day, Phillips sent

 AMc another letter requesting a list of special assignments and questioning the meaning of fair

 market value. It is these letters that I understand Phillips said he did not author, Brewer did.

 Brewer followed these two letters with another to AMc’s counsel (allegedly in response to AMc’s

 letter about the aforementioned false statements about AMc in the Cuomo lawsuit), reiterating

 those two letters. To comply with the requests, AMc sent a letter to Phillips asking for further

 clarification on the documents to be examined for audit so that AMc could prepare appropriately.

 In response, Phillips stated that Carry Guard, Special Assignments, and (for the first time) out of

 pocket expenses generally would be examined.

        29.     AMc responded to a previous letter (August 8) with the requested information about

 invoicing, out of pocket expenses, and Special Assignments. Brewer sent yet another letter on

 August 27, 2018, requesting the same documents that had previously been provided or that AMc




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 had agreed to provide, to which AMc responded the same day. AMc also sent a response the next

 day regarding fair market value pricing, the definition of which Phillips already knew from the

 parties’ interactions and practice over the decades. Someone on the NRA side wrote a response

 letter requesting additional out of pocket expense documentation. This letter was purportedly from

 Phillips, although it stated, “thank you for responding to the Woody Phillips letter,” indicating

 Phillips himself did not actually write the letters.

         30.     I have personal knowledge about the statement from Phillips (that he did not write

 the letters) based on conversations with Bill Winkler. In a letter to Phillips, Bill recited the

 statement from Phillips—which nobody from the NRA or the Brewer Firm has denied, to my

 knowledge.

         31.     Returning to the letter writing campaign, and wholly unrelated to Carry Guard, on

 September 1, 2018, Brewer next asked for a copy of the North Contract. AMc’s counsel explained

 that Col. North’s attorneys would have to provide consent for AMc to share it. A day earlier,

 AMc’s counsel also sent a letter to Brewer noting AMc’s compliance with the many document

 requests and asking him to correct errors in his amended complaint against Gov. Cuomo. Brewer

 refused, and instead accused AMc and its counsel of not responding timely to the document

 requests.

         32.     In the midst of these letters, AMc had agreed to the NRA’s audit on September 17-

 18, 2018. Brewer sent another letter seeking documentation for out of pocket expenses and special

 assignments. AMc agreed to provide the requested information at the upcoming audit.

         33.     After the audit, in letters concerning reduction of the 2018 budget, Powell then

 began accusing AMc of not providing the information Brewer requested—either outside of or

 during the audit. AMc clarified in a response letter the falsity of that accusation. Notably, that




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 same day, Steve Hart (attorney for the NRA Board of Directors) met with AMc’s counsel to review

 the North Contract.

         34.    The next relevant date was the October 11, 2018 meeting where LaPierre promised

 Brewer and Powell would not be involved with AMc anymore, including any audits, and where

 LaPierre asked AMc to “stick with him.” Then on November 14, 2018, the NRA conducted

 another audit of AMc regarding the same Carry Guard documents, which ended with a letter from

 the auditor to AMc, thanking AMc for a “very fruitful meeting on our end.”

         35.    Then on December 21, 2018, despite LaPierre’s promise, Brewer sent a letter

 requesting an even more expansive set of documents: all out of pocket expenses for the past three

 years, a list of all NRATV commentators (“talent”) and employees that work for the NRA, fair

 market value analysis (including proof of what AMc charges other clients), and third party media

 buys.

         36.    Paragraph 20:

         Throughout the rest of August 2018, Brewer continued to insist AMc was
         withholding information and refusing to provide copies of documents, which AMc
         was not required to do under the Services Agreement with the NRA. His letters and
         communications to AMc’s attorneys became increasingly inaccurate, adversarial
         and incorrectly claimed that AMc was actively breaching its obligations under the
         Services Agreement. Angus and I both found this distressing because we knew that
         AMc had fully complied with every request in good faith.

 I have personal knowledge of the increasing inaccuracy, adversarial nature, and incorrect claims

 in Brewer’s letters because I read them and because Angus and I approved the responses and

 compliance with his many requests, as noted above. I also have personal knowledge about my

 own distress concerning this letter writing campaign, as well as Angus’s distress because we talked

 about how it was impacting us and AMc. For instance, Angus was distraught at the reality he

 faced, on multiple occasions asking why his son-in-law would be trying to attack his company

 with “breach traps” (i.e., asking for documents that Brewer knew AMc did not have or had already


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 provided) and ultimately destroying and denying Angus’s moments with his family as he battled

 lung cancer.

        37.     Paragraph 21, the NRA did not contest or object to:

        In September 2018, members of the Brewer Firm conducted an on-site review at
        AMc of AMc records authorized for NRA personnel pursuant to the Services
        Agreement, but which was unlike any other review the NRA had ever conducted.
        The Brewer Firm representatives, led by Susan Dillon, initially refused to identify
        themselves and refused to answer questions about the purpose of the review. While
        every prior review involved NRA reports or other financial statements that needed
        to be reconciled in some way, the Brewer Firm representatives seemed to request
        volumes of AMc NRA-related material with no stated or identifiable objective.
        Following the review, it is my understanding that no one from the NRA or the
        Brewer Firm followed up to identify any additional information that was missing
        or needed. At that point, AMc concluded the NRA and the Brewer Firm had gotten
        whatever information they needed.

        38.     Paragraph 22:

        It is my understanding that LaPierre, who was AMc’s only designee at this time
        pursuant to the Services Agreement, directed AMc executives not to let Brewer
        have copies of anything because he feared the information would be leaked to hurt
        him. At this point, upon information and belief, based on our employees’
        interactions with Josh Powell (“Powell”) (LaPierre’s Chief of Staff), Brewer was
        working directly for Powell. This seemed to fit the narrative that LaPierre was “in
        a box.” On more than one occasion, Powell told multiple people at AMc that he
        wished he could take control of the organization. One specific comment Powell
        made to multiple AMc employees was that he wished he could “put Wayne into a
        coma.” It is my understanding that Brewer and Powell were very close, based in
        part on Powell talking to AMc representatives about how his relationship with
        Brewer extended past professional to personal interactions. Powell would often
        brag to people about his knowledge of the law that Brewer taught him. On one
        occasion, it is my understanding, that Powell told an AMc executive that Brewer
        was threatening to “have people at AMc indicted” by the Federal Bureau of
        Investigation under RICO (Racketeer Influenced and Corrupt Organizations Act.)

 I have personal knowledge of Powell’s comments of wanting to put LaPierre “into a coma”

 because he made them at a dinner at Abacus in Dallas that I attended with multiple AMc personnel.

        39.     Paragraph 23:

        Furthering Brewer’s increased threatening behavior and validating Powell’s
        independent account, shortly after the initial Brewer Firm review, Angus learned
        from LaPierre that Brewer was threatening to have Angus indicted for unidentified


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         misdeeds associated with AMc’s work for the NRA. This deeply upset Angus who
         had loved and served the NRA for most of his career.

  I have personal knowledge of Brewer’s threat relayed through LaPierre because Angus told me

  about it, and because the same threat was already relayed to me by Tony Makris. I also have

  personal knowledge of how that threat upset Angus because he is my father and was co-CEO with

  me.

         40.     Paragraph 26:

         Despite this brief respite from Brewer’s harassment, Brewer resurfaced a few
         weeks later in December 2018. Brewer knew Angus was in the process of
         undergoing painful radiation and chemotherapy treatment after surgery had been
         ruled out as an option to treat his cancer. Angus was home for what would likely
         be—and was in fact—his final Christmas with his family. On December 21, 2018,
         the Brewer Firm sent another letter requesting more confidential information about
         AMc’s business, such as information about other clients, which is proprietary to
         AMc and not authorized in the Services Agreement. Prior to this time, the NRA
         had never requested any information about AMc’s other clients, including how
         AMc negotiated agreements.

  I have personal knowledge that Brewer knew about Angus’s radiation and chemotherapy treatment

  because he acknowledged through actions and words to family that he knew what Angus was

  battling. I included in this declaration the very letter I referenced above, which shows the

  additional information Brewer requested relating to AMc’s other clients, and which is not provided

  for under the Services Agreement.

         41.     Paragraph 31:

         During that time, April 2019, Brewer threatened to have me and Angus indicted by
         the Department of Justice, which was communicated to me through a member of
         our family. Brewer was also quoted in numerous media articles attacking AMc for
         its alleged failure to comply with the NRA’s record requests.

  I have personal knowledge about Brewer’s threat because it was communicated directly to me

  through a family member. Specifically, on April 24, 2019, I was eating lunch at The Hutch in

  Oklahoma City with my wife and Angus when I received a call from a family member relaying



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  the threat that LaPierre called Brewer to have me and Angus indicted by the Department of Justice.

  As I stated previously, part of the reason I believe it is manifestly unfair and prejudicial to have

  my brother-in-law as my company’s opponent’s lawyer is for the very reason that I cannot divulge

  a family member’s name—to share with the court the wrongful conduct going on while protecting

  my family from further discord or what I believe could be possible attacks from Brewer.

         42.     Paragraph 32:

         By early May 2019, Angus was severely ill, starting to cough up blood and show
         signs that the cancer was progressing. It is my understanding that Brewer was well
         aware of all of this. In mid-May 2019, Angus was hospitalized.

  I have personal knowledge that Brewer was aware of Angus’s health status because he was aware

  of the hospitalizations that brought our family into town.

         43.     Paragraph 35:

         On July 11, 2019, as Angus was in hospice care and his family was traveling to see
         him, he read Brewer’s quote in a Bloomberg article, accusing AMc of committing
         crimes against the NRA. Distraught from reading the words of his son-in-law
         libeling him as a criminal, Angus looked at me and told me to protect our family
         from Brewer who he believed would stop at nothing to attempt to destroy his family.
         Less than one week later, on July 16, 2019, Angus passed away.

  I described my personal knowledge about Angus’s thoughts and feelings about Brewer already

  when I said “Angus looked at me and told me to protect our family from Brewer.” Angus told me

  that same day that he believed Brewer would stop at nothing to attempt to destroy his family.

  Angus told me he was upset that his son-in-law accused him of being a criminal, and did so

  publicly. We stopped talking about this issue after that because there were more important things

  to focus on than Brewer’s disgusting public attacks on his family.

         44.     Paragraph 36:

         Since the date the NRA’s first lawsuit was filed against AMc on April 12, 2019, I
         have personal knowledge that Brewer, using family members as channels, has
         attempted to communicate with me to influence AMc’s litigation positions and
         strategy. For example, when Brewer knew that AMc was represented by counsel,


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             he tried to direct me to “break privilege” with my own attorneys so he could tell
             me “how to get out of this.” In addition to his threat of indictment in April 2019,
             through these channels, I have learned that, despite the fact that Brewer and his
             PR unit have supposedly been limited to certain information in the Virginia lawsuits
             against AMc, Brewer is still managing and overseeing “every aspect” of those
             cases. Based on this knowledge, I have no reason to believe any of the highly
             confidential information AMc has produced in the Virginia lawsuits to the NRA has
             actually been withheld from Brewer as ordered.

  I received a message from a family member that Brewer wanted me to effectively break privilege

  and “call him.” I was with my father in his kitchen discussing this issue because he was horrified

  that our entire family was being brought into this bad situation. He did not want us siblings

  discussing this issue anymore, telling us to “cut it out,” because he believed that it would be

  weaponized by Brewer and ultimately make us adversarial with each other. I am proud that to this

  day, we have not successfully been ripped apart by Brewer or his firm. Between this history and

  because I understand Brewer is lead counsel, as even the NRA and the Brewer Firm pointed out

  in the hearings and motions, I am entitled to my opinion that I do not believe my company’s highly

  confidential information has actually been withheld from Brewer as ordered.

             45.     Paragraph 37:

             Oddly, Brewer has now undertaken the representation of Grant Stinchfield
             (“Stinchfield”)—a former AMc employee and NRATV program host who filed an
             affidavit on behalf of the NRA. Not only did Stinchfield’s affidavit contain false
             statements regarding AMc, but it was promptly leaked to the media. AMc
             responded with a suit against Stinchfield for libel, which is a companion case to
             this cause of action. 1 It is my understanding that Stinchfield agreed to sit down with
             our attorneys to discuss editing his affidavit for accuracy. He abruptly canceled that
             meeting and Brewer filed his answer.

  I have personal knowledge of the false statements because of my knowledge of AMc’s business

  and operations as CEO. I also have personal knowledge that the affidavit was promptly leaked to

  the media because it was and I saw the article.



  1
      Ackerman McQueen, Inc. v. Stinchfield, N. Dist. Tex, No. 3:19-cv-03016-x (Dec. 12, 2019).


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         46.    Paragraph 39:

         As the brother-in-law of Brewer, I believe that it is profoundly unfair and highly
         prejudicial for AMc to have to litigate this matter against Brewer and his firm. His
         intimate knowledge of our family allows the Brewer Firm to engage in sending
         messages to me using family members instead of communicating through my
         attorneys. Brewer had detailed knowledge of Angus’s cancer treatment and used
         that information to time his litigation and media attacks. He denied our family
         uninterrupted time with our father during his final year of life and damaged some
         of the last moments between Angus and his family. As the CEO of AMc, who is
         the party in this litigation and directs litigation strategy, I am often forced to
         consider the implications of AMc’s actions which may impact my sister and her
         children, whom I care about deeply.

  I have personal knowledge to share these concerns and risks because, in part, they have already

  happened (such as the family back-channeling), as described above.           I also have personal

  knowledge of Brewer’s timing of his litigation and media attacks to follow Angus’s cancer

  treatments because I know both the timing of those attacks and the dates of Angus’s cancer

  treatments.

         I declare under penalty of perjury that the foregoing is true and correct.


         Executed this 3rd day of June, 2020.



                                                       Revan McQueen




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           December 1, 2011


           Travis Carter
           Bickel & Brewer
           4800 Comerica Bank Tower
           1717 Main Street


           Dear Travis,

           From our discussions, Ackerman McQueen understands that 3M faces certain
           public relations and communication challenges regarding the manufacturing and
           use of PFCs. We have gathered that many of the issues revolve around certain
           health/environmental concerns and that the initial communication needs will be
           focused on the 3M plant in Cottage Grove, MN. Beyond that, we have no
           detailed understanding of the compound or the current issues in play. We also
           don’t have many details regarding audience, current content or existing
           marketing/public relations efforts.

           Bickel & Brewer has expressed the need for an online video presence and
           supplementary video production to better manage public opinion as well as
           educate an influential audience who 3M needs to engage more effectively (i.e.,
           consumers, shareholders, media and local residents). This online channel or
           network would serve as a vital destination to confront misleading news stories and
           correct misinformation surrounding the issue. It is also our understanding that
           this could be an important venue in which to discuss 3M’s continued dedication to
           environmental awareness and protection.

           Before making any formal recommendations, we need to first do a thorough
           assessment. Your public relations/marketing investment cannot work effectively
           without this careful and methodical strategic analysis.

           We appreciate the opportunity to present this proposal. In it, we will outline a
           two-phased approach, as well as associated timing and costs. Once the phases are
           complete, it is important to note that 3M will have the beginnings of a video
           network that is fully functional.


           Phase I: Information Gathering

           The goal of this process is to gather all necessary information in order to make a
           detailed recommendation specifically tailored to the needs and goals of 3M.




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              x   AM would begin by understanding the 3M company as a whole, while
                  also analyzing your current public relations efforts and materials regarding
                  this specific issue.

              x   We would immerse ourselves in all available information regarding PFCs.
                  We would need access to as many studies, public surveys, official
                  documents, etc. that would help in this effort. More so, in order to
                  effectively achieve the most thorough understanding of PFCs and the
                  issue(s) in play, our team would conduct one-on-one, in-depth interviews
                  with management, team members and other key personnel. The exact
                  number and type of interviews will be mutually agreed upon with you
                  prior to proceeding. Interviews would be conducted in person when
                  possible or by phone.

              x   In the course of this interviewing process, we may also determine a need
                  to conduct interviews among a larger, dispersed geographic sample or to
                  include a wider sample. If, after beginning this process, we collectively
                  agree a larger research study is needed, we would provide a separate
                  proposal for the cost of conducting an online survey and would provide
                  competitive bids for that process.

              x   Review and analyze your existing content (audio, video and text resources,
                  photography, etc.).

              x   Assess existing staff/human assets in order to evaluate their potential
                  contribution to the network on an ongoing basis.

              x   Analyze 3M’s existing capabilities to generate content. This would
                  include personnel as well as production equipment.

           Phase II: Strategic Recommendation

           AM would next schedule a meeting to summarize our findings and present our
           detailed recommendation. Deliverables would include:

              x   Definition, analysis and prioritization of various target audiences for the
                  network.

              x   A name for the network and a recommended URL.

              x   The overall design/visual manifestation of the network, including
                  individual channel designs.

              x   Content vision for the network.

              x   Programming vision for the network.



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              x   Multiple examples of new network content.

              x   Plans for monitoring, and responding to, network metrics.

              x   Options for paid and organic search optimization, as well as other
                  marketing tools that would support the network.

              x   Recommendation as to how the network functions in conjunction with
                  existing 3M marketing and online efforts in order to form a
                  comprehensive, cohesive communication strategy.

              x   Recommendation regarding encoding, storage, hosting and streaming
                  options, including estimated costs.

              x   Recommendation for leveraging potential sponsorship/monetization of the
                  network.

              x   Recommendation regarding potential content partners.

              x   Staffing recommendation, including an associated budget (if applicable).

              x   Recommendation regarding studio facility and production assets (if
                  applicable).

              x   Technical detail, scope of work documentation, timing and associated cost
                  estimates for the development of any new, custom modules for the
                  Videodigm platform in order to fit specific 3M needs (if applicable).

              x   Scalability – phased rollout recommendations (if applicable).

              x   Timeline for network development and deployment.

              x   Overall budget information, including the option for AM’s ongoing
                  involvement in content generation for, and management of, the network.


           Timing and Compensation

           We anticipate this process will take approximately 90 days to complete.
           Ultimately, timing for the initial phase depends greatly on access to key
           stakeholders, as well as timely receipt of relevant detail, documentation or files.
           In a true sense of partnership, we will work with you to mutually agree upon a
           reasonable timeframe for all deliverables.

           AM will charge $150,000 for the work outlined above, payable in two amounts:



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                  $75,000 - due upon approval of this proposal.
                  $75,000 - due upon completion of the Phase II recommendation.

           There is an ongoing, monthly Videodigm software-licensing fee of $2,500 that
           covers: use of the platform; use of the custom Content Management System (for
           administering the on-demand video and analog data within the platform); use of
           the custom Encoding and Distribution managers as well as Broadcast and
           Talkback Management Systems (for executing live streaming on the platform);
           software support and technical assistance. More importantly, licensees benefit
           from ongoing product development, resulting in new and evolving platform
           functionality. This fee would begin upon your agreement to proceed with
           Network Deployment and would remain intact for a period of 12 months, or as
           long as the network is live on the Internet.

           Once again, it is important to note that upon the completion of Phase II, 3M will
           already have the beginnings of a video network that is fully functional, not a
           prototype. Thus, the organization’s initial $150,000 investment will produce not
           only the analysis and resulting recommendations, but also the foundation of what
           will ultimately live online as the 3M video network.

           We are very excited about the opportunity to work with Bickel & Brewer and 3M
           on this project. A strong video presence online that reaches your most influential
           audience is crucial to effective communication and public relations. We look
           forward to hearing from you and are available to answer any questions you might
           have.

           Sincerely,

           Revan McQueen

           Cc: Hillary Farrell
               Rodney Lipe
               Peter Farrell
               Kevin Joseph




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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

    NATIONAL RIFLE ASSOCIATION OF                    §
    AMERICA,                                         §
                                                     §
               Plaintiff and Counter-Defendant       §
                                                     §
    and                                              §
                                                     §
    WAYNE LAPIERRE,                                  §
                                                     § Civil Action No. 3:19-cv-02074-G
               Third-Party Defendant,                §
                                                     §
    v.                                               §
                                                     §
    ACKERMAN MCQUEEN, INC.,                          §
                                                     §
               Defendant and Counter-Plaintiff,      §
                                                     §
    MERCURY GROUP, INC., HENRY
                                                     §
    MARTIN, WILLIAM WINKLER,
                                                     §
    MELANIE MONTGOMERY, and JESSE
                                                     §
    GREENBERG,
                                                     §
                                                     §
               Defendants.
                                                     §


                               DECLARATION OF BRIAN E. MASON

          Pursuant to 28 U.S.C. § 1746, I, Brian E. Mason, hereby declare as follows:

          1.       My name is Brian E. Mason. I am over eighteen years of age. I have never been

  convicted of a felony or misdemeanor involving moral turpitude. I am fully competent to make

  this declaration. I am a lawyer at Dorsey & Whitney, LLP and counsel of record for Ackerman

  McQueen, Inc., Mercury Group, Inc., Henry Martin, William Winkler, Melanie Montgomery, and

  Jesse Greenberg (collectively, “Defendants”) in the above-captioned matter. I have personal

  knowledge of the facts set forth in this declaration and acknowledge them to be true and correct.




  DECLARATION OF BRIAN E. MASON                                                              PAGE 1
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         2.      Attached hereto as Exhibit J-1 is a true and correct copy of a letter from NRA to

  Ackerman, dated August 8, 2018.

         3.      Attached hereto as Exhibit J-2 is a true and correct copy of Brewer Firm

  Leadership Page as of June 3, 2020.

         4.      Attached hereto as Exhibit J-3 is a true and correct copy of an email from Brian

  Mason, dated May 22, 2020.

         5.      Attached hereto as Exhibit J-4 is a true and correct copy of an email from Michael

  Collins, dated May 22, 2020.

         6.      Attached hereto as Exhibit J-5 is a true and correct copy of an email from William

  Brewer, dated May 18, 2020.

         I declare under penalty of perjury and in accordance with 28 U.S.C. § 1746 that the

  foregoing is true and correct.


  Executed this 3rd day of June, 2020.




                                                      Brian E. Mason




  DECLARATION OF BRIAN E. MASON                                                            PAGE 2
                                                                                         APP106
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                                                                      APP107
                             EXHIBIT J-1
   Case 3:19-cv-02074-G-BK Document 141 Filed 06/03/20    Page 111 of 130 PageID 9027




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   Case 3:19-cv-02074-G-BK Document 141 Filed 06/03/20             Page 121 of 130 PageID 9037




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Case 3:19-cv-02074-G-BK Document 141 Filed 06/03/20   Page 122 of 130 PageID 9038




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Case 3:19-cv-02074-G-BK Document 141 Filed 06/03/20                                          Page 123 of 130 PageID 9039

   From:               Mason, Brian
   To:                 Michael Collins
   Cc:                 Gruber, G. Michael; Carroll, Christina; Taylor, Kelsey; Jordan Welch; Alessandra Allegretto
   Subject:            RE: [EXTERNAL] RE: NRA/AMc
   Date:               Wednesday, May 27, 2020 10:02:04 AM
   Attachments:        image001.png


   Mike,

   We have still not received a formal response regarding Skye Brewer’s declaration. Please produce
   Mrs. Brewer’s declaration immediately.

   Brian E. Mason




   DORSEY & WHITNEY LLP
   300 Crescent Ct, Suite 400 | Dallas, TX 75201
   P: 214.981.9929 F: 214.981.9901 C: 214.675.6002
   WWW.DORSEY.COM :: DALLAS :: BIO :: V-CARD




   From: Michael Collins <MJC@BrewerAttorneys.com>
   Sent: Friday, May 22, 2020 6:38 PM
   To: Mason, Brian <mason.brian@dorsey.com>
   Cc: Gruber, G. Michael <gruber.mike@dorsey.com>; Carroll, Christina
   <carroll.christina@dorsey.com>; Taylor, Kelsey <Taylor.Kelsey@dorsey.com>; Jordan Welch
   <jaw@brewerattorneys.com>; Alessandra Allegretto <apa@brewerattorneys.com>
   Subject: RE: [EXTERNAL] RE: NRA/AMc

   Brian,

   Please see the attached.

   Best,
   Mike


   From: mason.brian@dorsey.com <mason.brian@dorsey.com>
   Sent: Thursday, May 21, 2020 3:20 PM
   To: Michael Collins <MJC@BrewerAttorneys.com>; Jordan Welch <jaw@brewerattorneys.com>;
   Alessandra Allegretto <apa@brewerattorneys.com>
   Cc: gruber.mike@dorsey.com; carroll.christina@dorsey.com; Taylor.Kelsey@dorsey.com
   Subject: RE: [EXTERNAL] RE: NRA/AMc

   Mike,


                                                                                                                     APP120
                                                 EXHIBIT J-3
Case 3:19-cv-02074-G-BK Document 141 Filed 06/03/20                   Page 124 of 130 PageID 9040


   Without waiving anything regarding your failure to produce Mrs. Brewer’s declaration, it was only
   one of the issues raised in my correspondence. What about the January 5, 2019 transcript?

   Brian E. Mason




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   300 Crescent Ct, Suite 400 | Dallas, TX 75201
   P: 214.981.9929 F: 214.981.9901 C: 214.675.6002
   WWW.DORSEY.COM :: DALLAS :: BIO :: V-CARD




   From: Michael Collins <MJC@BrewerAttorneys.com>
   Sent: Thursday, May 21, 2020 2:50 PM
   To: Mason, Brian <mason.brian@dorsey.com>; Jordan Welch <jaw@brewerattorneys.com>;
   Alessandra Allegretto <apa@brewerattorneys.com>
   Cc: Gruber, G. Michael <gruber.mike@dorsey.com>; Carroll, Christina
   <carroll.christina@dorsey.com>; Taylor, Kelsey <Taylor.Kelsey@dorsey.com>
   Subject: [EXTERNAL] RE: NRA/AMc

   Brian

   We received your letter dated May 20, 2020, regarding the declaration of James McCormack. As
   you know, we did not submit a declaration from Skye McQueen Brewer with our Opposition to your
   Motion to Disqualify, and we will provide you with a formal response on this point tomorrow.

   Best,
   Mike



   From: mason.brian@dorsey.com <mason.brian@dorsey.com>
   Sent: Wednesday, May 20, 2020 10:15 PM
   To: Michael Collins <MJC@BrewerAttorneys.com>; Jordan Welch <jaw@brewerattorneys.com>;
   Alessandra Allegretto <apa@brewerattorneys.com>
   Cc: gruber.mike@dorsey.com; carroll.christina@dorsey.com; Taylor.Kelsey@dorsey.com
   Subject: NRA/AMc

   Mike,

   Please see the attached. We appreciate your prompt attention to these issues.

   Brian E. Mason


                                                                                             APP121
Case 3:19-cv-02074-G-BK Document 141 Filed 06/03/20                                                          Page 125 of 130 PageID 9041




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                                                                                                                                       APP122
Case 3:19-cv-02074-G-BK Document 141 Filed 06/03/20                                          Page 126 of 130 PageID 9042

   From:               Michael Collins
   To:                 Mason, Brian
   Cc:                 Gruber, G. Michael; Carroll, Christina; Taylor, Kelsey; Jordan Welch; Alessandra Allegretto
   Subject:            RE: [EXTERNAL] RE: NRA/AMc
   Date:               Friday, May 22, 2020 6:38:37 PM
   Attachments:        image001.png
                       2020-05-22_Letter to B. Mason.pdf
                       Final Board Meeting Minutes Jan 5 2019_2277001_11297474 (003).pdf


   Brian,

   Please see the attached.

   Best,
   Mike

   From: mason.brian@dorsey.com <mason.brian@dorsey.com>
   Sent: Thursday, May 21, 2020 3:20 PM
   To: Michael Collins <MJC@BrewerAttorneys.com>; Jordan Welch <jaw@brewerattorneys.com>;
   Alessandra Allegretto <apa@brewerattorneys.com>
   Cc: gruber.mike@dorsey.com; carroll.christina@dorsey.com; Taylor.Kelsey@dorsey.com
   Subject: RE: [EXTERNAL] RE: NRA/AMc

   Mike,

   Without waiving anything regarding your failure to produce Mrs. Brewer’s declaration, it was only
   one of the issues raised in my correspondence. What about the January 5, 2019 transcript?

   Brian E. Mason




   DORSEY & WHITNEY LLP
   300 Crescent Ct, Suite 400 | Dallas, TX 75201
   P: 214.981.9929 F: 214.981.9901 C: 214.675.6002
   WWW.DORSEY.COM :: DALLAS :: BIO :: V-CARD




   From: Michael Collins <MJC@BrewerAttorneys.com>
   Sent: Thursday, May 21, 2020 2:50 PM
   To: Mason, Brian <mason.brian@dorsey.com>; Jordan Welch <jaw@brewerattorneys.com>;
   Alessandra Allegretto <apa@brewerattorneys.com>
   Cc: Gruber, G. Michael <gruber.mike@dorsey.com>; Carroll, Christina
   <carroll.christina@dorsey.com>; Taylor, Kelsey <Taylor.Kelsey@dorsey.com>
   Subject: [EXTERNAL] RE: NRA/AMc




                                                                                                                     APP123
                                                 EXHIBIT J-4
Case 3:19-cv-02074-G-BK Document 141 Filed 06/03/20                                                          Page 127 of 130 PageID 9043

   Brian

   We received your letter dated May 20, 2020, regarding the declaration of James McCormack. As
   you know, we did not submit a declaration from Skye McQueen Brewer with our Opposition to your
   Motion to Disqualify, and we will provide you with a formal response on this point tomorrow.

   Best,
   Mike



   From: mason.brian@dorsey.com <mason.brian@dorsey.com>
   Sent: Wednesday, May 20, 2020 10:15 PM
   To: Michael Collins <MJC@BrewerAttorneys.com>; Jordan Welch <jaw@brewerattorneys.com>;
   Alessandra Allegretto <apa@brewerattorneys.com>
   Cc: gruber.mike@dorsey.com; carroll.christina@dorsey.com; Taylor.Kelsey@dorsey.com
   Subject: NRA/AMc

   Mike,

   Please see the attached. We appreciate your prompt attention to these issues.

   Brian E. Mason




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   P: 214.981.9929 F: 214.981.9901 C: 214.675.6002
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   including any copies thereof, and inform the sender that you have deleted the e-mail, all attachments and any copies thereof.
   Thank you.


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                                                                      APP125
Case 3:19-cv-02074-G-BK Document 141 Filed 06/03/20                              Page 129 of 130 PageID 9045

  From:             William Brewer
  To:               Dana Merritt; Mason, Brian
  Cc:               Michael Collins; Alessandra Allegretto; Jordan Welch
  Subject:          [EXTERNAL] Re: NRA v. AMc - Third party subpoena documents
  Date:             Monday, May 18, 2020 9:07:41 PM



  When did we get these.


  Best,
  Bill

  From: Dana Merritt <DXM@BrewerAttorneys.com>
  Sent: Monday, May 18, 2020 9:59:55 PM
  To: mason.brian@dorsey.com <mason.brian@dorsey.com>
  Cc: Michael Collins <MJC@BrewerAttorneys.com>; Alessandra Allegretto
  <apa@brewerattorneys.com>; Jordan Welch <jaw@brewerattorneys.com>
  Subject: NRA v. AMc - Third party subpoena documents


  Dear Mr. Mason,


  Please find below a file transfer link to folders containing copies of supplemental documents produced
  by Comcast and Six Flags in response to the NRA’s subpoenas.


  https://filecloud.brewerattorneys.com/Public/?folder=0fc278a3



  Regards,
  Dana Merritt | Senior Case Manager
  Brewer Attorneys & Counselors
  1717 Main Street, Suite 5900
  Dallas, Texas 75201
  Office: 214.653.4848 | Fax: 214.653.4015
  DXM@brewerattorneys.com | www.brewerattorneys.com




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                                                                                                        APP126
                                             EXHIBIT J-5
Case 3:19-cv-02074-G-BK Document 141 Filed 06/03/20                            Page 130 of 130 PageID 9046

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  email or at the telephone number above. Brewer, Attorneys and Counselors asserts in respect of this
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  law. Thank you.




                                                                                                         APP127
